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                 Exhibit 1
DIY Guns: A Landmark Ruling Opens the Door for Homemade Firearms | WIRED Page 1 of 20
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                                                                                      SUBSCRIBE




 BACKCHANNEL 07.10.18 01:29 PM




 A LANDMARK LEGAL SHIFT OPENS
 PANDORA’S BOX FOR DIY GUNS
 Cody Wilson makes digital files that let anyone 3-D print untraceable guns. The
 government tried to stop him. He sued—and won.




 FIVE YEARS AGO,




https://www.wired.com/story/a-landmark-legal-shift-opens-pandoras-box-for-diy-guns/      7/29/2018
DIY Guns: A Landmark Ruling Opens the Door for Homemade Firearms | WIRED Page 2 of 20
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 AFTER HIS LAWYERS




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                                     WIRED STAFF   JOBS   RSS




https://www.wired.com/story/a-landmark-legal-shift-opens-pandoras-box-for-diy-guns/        7/29/2018
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                  Exhibit 2
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 1

 2

 3

 4                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5
     STATE OF WASHINGTON; STATE OF                      NO.
 6   CONNECTICUT; STATE OF MARYLAND;
     STATE OF NEW JERSEY; STATE OF NEW                  DECLARATION OF
 7   YORK; STATE OF OREGON;                             MITZI JOHANKNECHT
     COMMONWEALTH OF                                    IN SUPPORT OF PLAINTIFF’S
 8   MASSACHUSETTS; COMMONWEALTH                        MOTION FOR TRO AND
     OF PENNSYLVANIA; and DISTRICT OF                   PRELIMINARY INJUNCTION
 9   COLUMBIA
                     Plaintiffs,
10   v.
                                                        Noting Date: August ___, 2018
11   UNITED STATES DEPARTMENT OF
     STATE; MICHAEL R. POMPEO, in his
12   official capacity as Secretary of State;
     DIRECTORATE OF DEFENSE TRADE
13   CONTROLS; MIKE MILLER, in his official
     capacity as Acting Deputy Assistant Secretary
14   of Defense Trade Controls; SARAH
     HEIDEMA, in her official capacity as Director
15   of Policy, Office of Defense Trade Controls
     Policy; DEFENSE DISTRIBUTED; SECOND
16   AMENDMENT FOUNDATION, INC; and
     CONN WILLIAMSON;
17
                           Defendants.
18
            I, Mitzi Johanknecht, declare as follows:
19
            1.     I am over the age of 18 and have personal knowledge of all the facts stated herein.
20
            2.     I have been the Sheriff of King County, Washington since January 1, 2018.
21
            3.     I have been a law enforcement officer for 33 years with the King County Sheriff’s
22
     Office (KCSO). During my time as a law enforcement officer, I worked my way up the ranks
23
     from deputy and have served in leadership roles in every division and location in the KCSO. As
24
       DECLARATION OF MITZI                             1               ATTORNEY GENERAL OF WASHINGTON
                                                                             800 Fifth Avenue. Suite 2000
       JOHANKNECHT IN SUPPORT OF                                               Seattle, WA 98104-3188
       PLAINTIFF’S MOTION FOR TRO AND                                               (206) 464-7744
       PRELIMINARY INJUNCTION
          Case 2:18-cv-01115-RSL Document 1-1 Filed 07/30/18 Page 24 of 119




 1   the Sheriff, I oversee a staff of 1,200 employees who are responsible for the public safety of

 2   approximately 2.2 million people who live in King County, plus thousands of others who transit

 3   to and through the county on a daily basis.

 4          4.       As a law enforcement officer, I am very familiar with firearms. I have carried a

 5   gun as part of my job for the last 33 years, have received instruction on a variety of weapons

 6   including pistols and long guns, and have personally witnessed the damage that guns can do to

 7   the human body if guns fall into the wrong hands.

 8          5.       I am also familiar with Washington’s gun-safety laws, which prohibit certain

 9   categories of persons from buying or possessing firearms. This group includes minors, persons

10   convicted of violent felonies, persons under the supervision of the Department of Corrections,

11   the mentally ill, and persons subject to a wide variety of protection orders, including domestic

12   violence, stalking and anti-harassment protection orders.

13          6.       Washington’s gun laws place a significant amount of responsibility on local law

14   enforcement. For example, the KCSO handles the vetting and granting of applications for

15   concealed pistol licenses, firearms dealer licenses, and alien firearms licenses for citizens living

16   in unincorporated areas of King County, as well as those municipalities for which the KCSO

17   contracts for law enforcement services. Information about such licensing is available on the

18   KCSO page of the King County website; for example:

19          https://kingcounty.gov/depts/sheriff/services/gun.aspx (last visited July 29, 2017);

20          https://kingcounty.gov/depts/sheriff/services/firearms-dealers.aspx (last visited July 29,

21          2017);

22          https://kingcounty.gov/depts/sheriff/services/alien-firearms-license.aspx (last visited

23          July 29, 2017).

24
       DECLARATION OF MITZI                               2               ATTORNEY GENERAL OF WASHINGTON
                                                                               800 Fifth Avenue. Suite 2000
       JOHANKNECHT IN SUPPORT OF                                                 Seattle, WA 98104-3188
       PLAINTIFF’S MOTION FOR TRO AND                                                 (206) 464-7744
       PRELIMINARY INJUNCTION
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                  Exhibit 3
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 1

 2

 3

 4                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 5
     STATE OF WASHINGTON; STATE OF                     NO.
 6   CONNECTICUT; STATE OF MARYLAND;
     STATE OF NEW JERSEY; STATE OF NEW                 DECLARATION OF CARMEN BEST
 7   YORK; STATE OF OREGON;                            IN SUPPORT OF PLAINTIFF’S
     COMMONWEALTH OF                                   MOTION FOR TRO AND
 8   MASSACHUSETTS; COMMONWEALTH                       PRELIMINARY INJUNCTION
     OF PENNSYLVANIA; and DISTRICT OF
 9   COLUMBIA,
                     Plaintiff,
10   v.                                                Noting Date: August ___, 2018

11   UNITED STATES DEPARTMENT OF
     STATE; MICHAEL R. POMPEO, in his
12   official capacity as Secretary of State;
     DIRECTORATE OF DEFENSE TRADE
13   CONTROLS; MIKE MILLER, in his official
     capacity as Acting Deputy Assistant Secretary
14   of Defense Trade Controls; SARAH
     HEIDEMA, in her official capacity as Director
15   of Policy, Office of Defense Trade Controls
     Policy; DEFENSE DISTRIBUTED; SECOND
16   AMENDMENT FOUNDATION, INC; and
     CONN WILLIAMSON
17
                           Defendants.
18
            I, Carmen Best, declare as follows:
19
            1.     I am over the age of 18 and have personal knowledge of all the facts stated herein.
20
            2.     I am the Chief of the Seattle Police Department. I began serving as interim chief
21
     on January 1, 2018, and have been nominated to the permanent position by Mayor Jenny Durkan.
22
            3.     I have been a law enforcement officer for 26 years with the Seattle Police
23
     Department (SPD). During my time as a law enforcement officer, I worked my way up the ranks
24
       DECLARATION OF CARMEN BEST                      1                ATTORNEY GENERAL OF WASHINGTON
                                                                             800 Fifth Avenue. Suite 2000
       IN SUPPORT OF PLAINTIFF’S MOTION                                        Seattle, WA 98104-3188
       FOR TRO AND PRELIMINARY                                                      (206) 464-7744
       INJUNCTION
          Case 2:18-cv-01115-RSL Document 1-1 Filed 07/30/18 Page 28 of 119




 1   from deputy and have served in leadership roles in a wide range of positions with SPD, including

 2   school safety, operations lieutenant, and assistant chief in the criminal investigations bureau. As

 3   the Chief of SPD, I oversee a staff of 1945 personnel who are responsible for the public safety

 4   of approximately 725,000 members of the public in Seattle.

 5          4.      As a law enforcement officer, I am very familiar with firearms. I have carried a

 6   gun as part of my job for the last 26 years, have received instruction on a variety of guns, and

 7   have personally witnessed the damage that guns can do to the human body if guns fall into the

 8   wrong hands.

 9          5.      I am also familiar with Washington’s gun-safety laws, which prohibit certain

10   categories of persons from buying or possessing firearms. This group includes minors, persons

11   convicted of violent felonies, persons under the supervision of the Department of Corrections,

12   the mentally ill, and persons subject to a wide variety of protection orders, including domestic

13   violence, stalking and anti-harassment protection orders.

14          6.      Washington’s gun laws place a significant amount of responsibility on local law

15   enforcement. For example, SPD is responsible for enforcement of court orders to surrender

16   firearms; testing and processing firearms recovered as evidence; and conducting investigations,

17   searches, arrests, and other activities that may result in lawful seizure of a firearm. Information

18   about these responsibilities is contained in the Seattle Police Department Manual, which is

19   available at the SPD page of the City of Seattle website:

20          http://www.seattle.gov/police-manual/title-15---primary-investigation/15215---seizing-

21          and-releasing-firearms (last visited July 29, 2018);

22          http://www.seattle.gov/police-manual/title-7---evidence-and-property/7030---firearms-

23          ammunition-and-shell-casings (last visited July 29, 2018);

24
       DECLARATION OF CARMEN BEST                        2                ATTORNEY GENERAL OF WASHINGTON
                                                                               800 Fifth Avenue. Suite 2000
       IN SUPPORT OF PLAINTIFF’S MOTION                                          Seattle, WA 98104-3188
       FOR TRO AND PRELIMINARY                                                        (206) 464-7744
       INJUNCTION
          Case 2:18-cv-01115-RSL Document 1-1 Filed 07/30/18 Page 29 of 119




 1          http://www.seattle.gov/police-manual/title-6---arrests-search-and-seizure/6180---

 2          searches-general (last visited July 29, 2018);

 3          http://www.seattle.gov/police-manual/title-15---primary-investigation/15410---

 4          domestic-violence-investigation (last visited July 29, 2018);

 5          http://www.seattle.gov/police-manual/title-16---patrol-operations/16110---crisis-

 6          intervention (last visited July 29, 2018).

 7          7.      I understand that technology exists that allows the manufacture of firearms

 8   through the use of commercially available 3-D printers. I further understand that this technology

 9   would allow someone to “print” or make guns in the privacy of his or her own home or anywhere

10   a 3-D printer is available. The guns made in this manner can be constructed out of metal or

11   plastic; regardless, I understand these “ghost guns” generally bear no identifying serial number

12   or manufacturer’s mark. In addition, I understand that the 3-D printed guns made out of plastic

13   are not detectable by metal detectors used at places such as courthouses and airports.

14          8.      I have great concern for public safety if the technology (e.g., software, computer

15   files, computer code) that would allow 3-D printers to be used to print guns would become

16   publicly available, including via the internet. As I said above, Washington has a very strong and

17   comprehensive set of gun laws designed to ensure that persons who are ineligible under

18   Washington law from possessing firearms cannot obtain guns. The widespread availability of

19   the technology to print guns—especially nonmetal guns that can pass unseen and unrecognized

20   through metal detectors—greatly increases the likelihood that persons who are ineligible to

21   possess guns will be able to get guns. Such a world would be much more dangerous for the

22   public, and for the SPD officers whose job it is to protect the public.

23

24
       DECLARATION OF CARMEN BEST                        3                ATTORNEY GENERAL OF WASHINGTON
                                                                               800 Fifth Avenue. Suite 2000
       IN SUPPORT OF PLAINTIFF’S MOTION                                          Seattle, WA 98104-3188
       FOR TRO AND PRELIMINARY                                                        (206) 464-7744
       INJUNCTION
          Case 2:18-cv-01115-RSL Document 1-1 Filed 07/30/18 Page 30 of 119




 1          I declare under penalty of perjury under the laws of the State of Washington and the

 2   United States of America that the foregoing is true and correct.

 3          DATED this 3dday of July, 2018, at Seattle, Washington.

 4

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23

24
      DECLARATION OF CARMEN BEST                       4                ATTORNEY GENERAL OF WASHINGTON
                                                                             800 Fifth Avenue. Suite
      IN SUPPORT OF PLAINTIFF'S MOTION                                         Seattle, WA        4-318888
      FOR TRO AND PRELIMINARY                                                       (206) 4644-77
                                                                                              -7744
      INJUNCTION
Case 2:18-cv-01115-RSL Document 1-1 Filed 07/30/18 Page 31 of 119




                  Exhibit 4
     Case
      Case2:18-cv-01115-RSL
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                            Document 1-1
                                     32-1 Filed
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                                                                     70



                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

DEFENSE DISTRIBUTED, et al.,           §
     Plaintiffs,                       §
                                       §
v.                                     §       No. 1:15-cv-372-RP
                                       §
U.S. DEPARTMENT OF STATE, et al.,      §
      Defendants.                      §




              Exhibit A: Declaration of Lisa V. Aguirre
     Case
      Case2:18-cv-01115-RSL
           1:15-cv-00372-RP Document
                            Document 1-1
                                     32-1 Filed
                                           Filed07/30/18
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                                                                2 of
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                                                                     70



                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DEFENSE DISTRIBUTED, et al .,                 §
     Plaintiffs,                              §
                                              §
V.                                            §          No. l:15-cv-372-RP
                                              §
U.S. DEPARTMENT OF STATE, et al.,             §
      Defendants.                             §


                      DECLARATION OF LISA V . AGUIRRE


I, Lisa Aguirre, pursuant to 28 U.S.C. § 1746, hereby declare and say as follows :


1.     ram the Director of the Office of Defense Trade Controls Management (DTCM),

       one of four directors within the Ditectorate of Defense Trade Controls (DDTC),

       Bureau of Political-Military Affairs at the Department of State. I have held this

       position since June, 2013. My roles and responsibilities in this position include

       managing, overseeing or supporting all DDTC activities.



2.     Prior to holding my current position, I was Director of the Office of Defense

       Tirade Controls Compliance in DDTC for over three years, during which time I

       oversaw numerous DDTC activities, including the management and processing of

       registration applications and registration fee submissions, reviews of export

       licenses for prohibited parties, the DDTC Company Visit Program (CVP), a

       program in which State Department officials visit arms exporters or end users to

       gather information on compliance with the Arms Export Control Act (AECA) and

       tbte International Traffic in Arms RGgulations (ITAR), and reviews under the
      Case
       Case2:18-cv-01115-RSL
            1:15-cv-00372-RP Document
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                                                                                   ance
        Com miltee on Foreign lnve.srmcnt in the United States (CFIUS). J\s Compli

        l)ircctor, I al-;o oversaw civil enforcement actions and rrovided support to

        cri min:tl enforcement maucrs under ITAR. In 1hc~c capacities at DDTC. I have
                                                                                       s
        become familia r"' ith the application of the AI :CA and 11 AR as part of DDTC

        mission and the full range of DDTC activities in support of its mission.



.1      Since joining DDTC, first as a contractor in June 2007. and !hen rhrough

         appoint ment 10 the federal service in July 2008. I have served continuously in

         defense trade controls roles.



-t       This declaration is submitrcd in support of the opposit ion to a motion for

         preliminary injunction to be filed by the official capacity defendants in the abov(!-

         captioned case. The informarion contained herein is based on my personal

         knowledge and nn inforrnaiion provided to me in my official capacity.



 Diretto rate of Defens e Trade ControJ.,.,
                                                                                    of
 5.      The Directorate of Defense Trade Controls (DDTC) is part of the Department

         State's f3ureau of Political-Military Affairs (PM), which reports to the Under

         Secretary for Arms Control and International Security. DDTC controls the export
                                                                                      by
         and temporary import and brokeri ng of defense articles and services covered

          the Uniied Slates Munition~ List (USML ), in accordance with 22 U.S.C.
                                                                                       **   2778-

                                                                                    in
          2780 or the Arms Export Control Act (AECA ) and the International Traffic

          /\rms Regulations (ITAR) (22 CFR Part~ 120-130).
       Case
        Case2:18-cv-01115-RSL
             1:15-cv-00372-RP Document
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         l)DTC- s mission is to carry out the purposes of the Al:CA to further
                                                                               world peaci;:
(1 .

                                                                                   uding by
         nnd the nationa l security and foreign poli cy of the United States, incl

                                                                              U .S. nationa l
         ensurin g that commercial defense exports support key objectiv es of

         •,ccurity and foreign policy. includi ng weapons nonpro liferatio n, support
                                                                                      for

         a llies, and preservation of human rights. DDTC also seeks to ensure that
                                                                                          s
          regulation keeps pace.: with innovat ion, lhat U.S. industry and foreign partner
                                                                                    tions cxporl
          t:ompJ y with appl icab le policies and requiremen ts. ;ind Lhat the muni

          proct.:ss is re liable and predictab le.   DDTC also serves us a rcso1,1rcc Lo the U.S .

          gnvern mcnr, industry . and fore ign cou nterparts on defense 1radc matters.



 7.       /\s parl of its mission . DDTC licenses the export and tempora ry im
                                                                               port and

          brokeri ng of items subject lo the Interna tional     Trnffic in Arms Regulati ons

                                                                                    m ent of.
          (.. ITAR") and seeks to ensure approprinte complia nce wi th, and enforce

          1hcsc regu lati ons. DDTC also maintai ns, reviews . and clarifies the U.S
                                                                                     .

          Mu ni tions List (USML), and oversees the Commo dity Jurisdiction process.


                                                                                   tornle of
  8.      The Office of Defense Trade Contro ls Policy (DTCP ) w ithin tht.: Direc

                                                                                    e related
           Defense Trade Control s oversees the develop ment of pol icy and guidanc

                                                                                       the !TAR
           lo ex por1s of dcfensL: a rticles a nd "crvicc s nn the USML and subject to

                                                                                            ,
           and the /\EC/\. DTCP manages the in tcragcn cy Commo dit y Jurisdic tion process
                                                                                  USML when
           which determ ines whethe r or not certain items are control led on the

                                                                                  licensin g
           questio ns ari <;c concerning whether or not an item is subject to the

                                                                                       the
           jurisdiction of the Department of State. DTCP also prepares al l changes to

           IT/\R. which are publish ed in t he Federal Register. manages bilatera l defense


                                                       3
     Case
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       trade agrcemt:nt:-., such as the United Kingdom and /\ustralia Defense Trade

       Coope ration Treaties . and provide~ cxporl control policy and regulato ry guidance

       l.o exporter s, defense manufc1l'lurers, and foreign al l ies and pan ners.



Statutor y and Regulatory Framework

9.     The Arms Export Control /\ct (AECA), Section 38(a)(l) (22 U.S.C. 2778(H)
                                                                                (l)),

        aut hnri.1.es the President "in furtheran ce of wor ld peace and the security and

        foreign policy of the United States ... lo control 1he import and the export of

        defense articles and defense services and to provide foreign policy guidance
                                                                                     Lo


                                                                                        and
        persons of the United Stales involved in the export and import of such articles

        services. The President is uuthoriz ed to designate those items which shall be

        consider ed as defense articles and defense service!- for the purpo,;cs of this section

        and 10 promulg ate regulatio ns for the import and export of such articles and

        services. Tht.: items so designated shall c.:onstitulc the Uni1ec.l States Munition
                                                                                            s

        List:·



        (a) l"hc $tatult)ry authority    or the President to ·'prom ulgate regulations for the
            imp<>rt and export or such artic les and services .. has been de legated to the

            Secretary of State by Executiv e Order 13637, § l(n ). This delegation require.

            that ··Design ations. includin g changes in designat ions.    by the Secretary of

             Stal<.:   of items or categories of items that shall be considered as defense

             mtidcs and defense services subject to export control under section 38 (22

             l f.S.C. 2778) shall have the cnncurrencl.! of the. t::cret:.ir) of Defcn:>e :·
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        (b) The authorities under the AECA delegated to the Secretary of State have been

            further delegated pursuant to Department of State Delegatio n of Authority

            293-2, f)e/egation of I\ 111/writy /Jy the Secretw y <~f' Srnre to Off1cers <4 the

            Oef)artm ent ofS1we and the Admi11istrntor of' 1/,e U.S. J\gency fur

            lntenwti cmal Developme/11 of Awhorit ies under the Foreign Assiswn ce Act of

            1961 anti 01her Related Acts (Oct. 23. 20 I I), which delegate s to the Under

            Si.:cretary   rnr ,'\nn s Control   and lntcrm.1tio11al   Secu rit y .. the lunc.:tions

            confe rred on the Secretary by Executive Order 136:n relating lo sales and

            exports   under th<.: Arms Export Comrol /\ct (22 U.S .C. 2751               t't   .\·eq. ).".



10.      The ITAR, 22 C.F.R. Chapter I, Subchapter M, Parts 120- 130, as amended, 79

         Fed. Reg. 77884 (Dec.29 . 2014), implements the AECA. Section 120.l of the

         !TAR sets forth how the ITAR is lldministered:


         (a) Seuion 38 of thi.: /\rms Exporl Co ntrol /\ct (22 U.S.C. 2778), HS amended ,

            authori?:es the Presidenr to control the export and impon of defense articles

             and defense services. The :statutory authority of the Presidem to promulgate

             regulations with respect 10 exporLs of defense articles ,rnd defense services is

             delegate d   lo the Secretar y of State by Executive Order U637. This subchap ter

             imrlcmcn ls that c1uthori Iy, as well as other relevant authorities in the Arms

             Export Con trol /\cl     (22 U.S.C. 2751 et seq. ). By virtue of delegati ons of

             authority by the ' ecretary of State, these regulations ar~ primarily

             administered by the Deputy Assistant Secretar y of State for Dere nse Trade

             Controls , Bureau of Political-Military Affairs.



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11.     T he IT/\R provides what particula r activiiics constitute an cxron. Section 120.

         Jctincs an ··cxpo11·· to mean:


             ( l ) Sending or laking a defense article out of the United States in any manrwr.

             except by mere trnvel outsjde of the United Stales by a person whose personal

             knowled ge i ncludes technical data; or


             (2) Transfer ring regisiration, control or ownersh ip to a foreign rerson of any

             aircraft, vessel, or satellite covered by the U.S. Munition s List, whether in 1he

             Uni ted States or abroad; or


             (]) Disclosi ng (includ ing onil or visual disc losure) or transferr ing in the

             United States any defense article to an cmba~sy, any agency or subdivi. ion of

             H   forci1-!n gel\ crnmenl {t'.M·. diploma tic missions): or


             (cl-) Disclosi ng (includin g oral or visu;tl disclosure) or transferr ing Iechnict1l

             data to a foreign person, whether in the United States or abroad; or


             (5) Perform ing a defense service on behalf of, or for the benefit of, a foreign

             person, whether in the United Stales or abroad.


             (6) A launch vehicle or payload shall nor, by reason of the launchin g of such

              vehicle, be considered an export for purposes of this subchapter. Howeve r.

              for cenain limited purposes (see ~ 126. L of this subchapter), the controls of

              1his subchar tcr may apply          10   any sale. lrnnsfcr or proposal to sell or transfer

                                                                1
              ddensc arli ck!--   ~lr   del'cnsi: ~cn· iccs:·



                                                                                                 of
  On June 3, 2015. the Department of State published in the Fcdernl Register a Notice
 1

                                                                                     ot her proposed
 Proposed Rulcmak ing (NPRM) proposin g revisions to 1hc IT/\R. Among
 chang,.::s, th e Dcpa11111ent proposed 10 clariry the definit ion of .. technical data·· by
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12.     Part 12 l of Lhc ITAR sets out those ··articles. services, and related technical data'·

         tha t have been designated as defensc articles and defense services pursuant     10


         sections J8 and 4 7(7) of the AECA. These items make up the USM L. There arc

         21 categories on the USML under which a particular item may be designated as a

         defense article.


13.      /\s relevant lo this litigmion , under Category I, Firearm.\, Clo.w~Assault Weapom

         ullll Com/)([t Slwrgu11s. the following items arc designated as defense articles:

         (a) Non-automati c ,rnd semi-autom atic firea rms to caliber .50 inclusive ( 12.7
             mm).

         (h) Fully Hutomatic firearms   LO   .50 caliber inclusive (12.7 mm ).
         (c) Fireanns or other weapons (e.g .. insurgenc y-counter insurgenc y, close assault
             weapons systems) having a special mili tary applicati on regardless of ca libe r.
         (d) Combat shotguns. This includes any shotgun with a barrel length less than 18
             inche!--.
         (c) Silencers, mufflers. sound and flash suppressors for the articles in (a) through
             (d) or this ca tegory and their specjfically des igned. modified or adapted
             componen ts and parts.
         (f) Riflcscopc:-, manufactu red lo military specifications. (See category Xll(c) for
             co ntrol<; on night ~ighting devices.)
         (g) Barrels. cy linders. receiver,; (frames) or complete breech rnet:hanisms for the
             articles in paragraphs (a) through (d) o f this category.
         (h) Compone nts, pans, accessories and attachmen ts for the articles in paragraph s

             (a) through (g) of this category.


- - - -------
c;pccifying that technical data may take the form of. in ter alia, CAD files. In addition, to
make more explicit the existing control on exports. the Departme nt proposed co add a
 pnragraph specifyin g lhHt provi ding technical <la ta on H publi cl y-accessib le network , such
 as 1hc Internet. i~ an export because of its inherent acccc;sibi lity to foreign powers. The
 DeparLmcnl has requested that interested parties submit comments on these and other
 c lemen ts of the proposed rule making between .lune 3 nnd Augu~t J, 2015. See Ex hibit
                                                                                                7.

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      (i) Technical data (as defined in~ 120.1 0 of !his suhchapter) and defense services
          (as tkfinccl in* 120.9 of this subchaptcr) directly related to the defense
          articles described in paragraph s (a) through (h) of this category. Technical
          data directly rclalcd to the manufacture or production of any defense articles
          described elsewhere in this category that arc designated as Significant Mili tary
          Equipmen t (SME) shall itself be designate d SME.
      (i) The following interpretations explain a1id amplify the terms used in this
          category and throughou t this subch~1pter:
                  (l)      A firearm is a weapon not over .50 caliber (12.7 mm) which is
                    designed to expel a projectile by lhe action of an explosive or which
                     may be 1cad il y conve rted to do so.
                  (:1       I\ ri fl e is a shoulder firearm which can discharge a bullet through a
                     rirled barrel 16 inches or longer.
                  ( ')      A rnrbinc is a liglllweight shoulder firearm wi1h a barrel under J ()
                     inches in length .
                  ( I)      A pistol is a hand-operated firearm having a chamber in1egral with
                     or permanen tly aligned with the bore.

                  (-i)      A revolver is a hand-operated firearm with a revolving cylinder
                     containing chambers for individual cartridges.
                  \fil      A submachine gun, ··machine pistol'' or ··111achi111.: gun ·· is a firearm
                     originally designed to fire, or capnblc of being fired, fully
                        automatically by a singJc pull of the trigger.


14.    In addition tci the inclusion of ·'techni cal data·· for Category I defense a11iclcs on

       the l ;sM I.. there arc sevcn:1 1other prov ision~ or the IT/\R related to ··t\!chn ical

      data ...

                 a. Sect ion 120.10 ofthc !TAR defines ··technical data.. us ··(a)(I)

                         Information, other than software as defined in~ 120. IO(a)(4) which is

                         required for the design . development , production, manufacture,


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                  assembly, operation . repair, testing, maintenance or modification of

                  defense articles. This includes information in Lhe form of blueprints,

                  drawings. phmograp hs, plc1ns, instruction-; or documcnta1ion[; I (2)

                  ( ' lassified informatio n relating to defense articles and defense serv ices

                  on the U.S. Muni tions List and 600-series items controlled by the

                  Commen x Control List: (3) Informatio n covered by an invention

                  secrecy order; or (4) Software (sec~ 120.45(f) ) directly related to
                                  1    3
                  defense aniclcs. (b ) The defin ition in paragraph (a) of this sectio n

                  does not include informati on concernin g general scientific,

                  mathematical. or engineerin g principles commonly taught in schools,

                  colleges, and universitie s. or in form atio n in the puhlic domain .is

                  defined in § 120.11 of this subchapte r or teleme try <.hlta as defined in

                   note 3 lo Category XV(f) of part 121 of this subchapter. It also docs

                   not include ba<;ic marketing information on function or purpose or

                   general system dcscripti tm s t)f'deli::nsc articles.'·



               b. Section l 20.6 of lhc ITAR defi nes a .. defense artic le.. as .. an y item or

                   technical data designated in§ 121.1 of this subchaptcr. This term

                   includes techn ical data recorded or stored in any ph ys ical form,

                   rnoc.lcls, mockups or other items that reveal technical c.lata directly

                   relating to items designated in § I 21. l of this subchapter. It also

                   includes forgings, castings, and other unfini shed products, such as



  This sentence added by 79 FR 61226 (Oct. 10, 2014).
-~ /\mended by 79 F R 27"18() (May JJ . 2014, effecti ve Nov. !O, 2014), as correc1cd by 7t1
 FR 66008 (Nov. 10, 201'1).
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                      cxlrusions and mach ined bodies, 1hat have reached a stage in

                      ma nu fact uri ng where th ey are clearly identifiable by mechanical

                      properties. material composition, geometry, or function as defense

                                       It does not include basic marketing informati on on function
                                   4
                      art icles.

                      or purpose or general system descriptions:·


                 c.   Section 120.9 of the ITAR defines a ··defonse ervicc"' as ..(I) The

                      furnishing or assistance (including training)      10   foreign persons.

                      wheth<.:r in the Uni ted States or abroad in 1hc design, development,

                      engineering. manufacture, production, assembly, testing. repair,

                      maintenance. modification, operation, demilitarization. destruction.

                      processing or use of defense articles; (2) The furnishi ng to foreign

                      persons or any technical data controlled under this subchapter (sec

                      ~   l 20. 10), whether in the United States or abroad : or (3) Mi litary

                      rrnining of foreign units and forces, regular and iffegular, including

                       formal or informal instruction of foreign persons in the UniLCd State:;

                      or abroad or by correspondence courses, technical, education al, or

                       information pirhlicatio ns and media of all kinds. tn-1ining aid.

                      o ricmation, training exercise. and military advice. (See also        ~    124. 1.r·



                  d. Collettively. rhe ··technical data" provisions serve the purpose or

                       limi ting the export of detailed info rmation needed to manufacture.

                       maintain, or operate defense articles controlled on the USML. Such


-1   This sentence was added to the definition of defense article by 79 FR 61226 (Oct. 10.
2014).

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                     cxporl limitations advance the purposes of the AECA by limiting the

                     abil ity of foreign powers lO design. develop, and produce ddc11sc

                     arlide, in lieu of being able          10   ohrnin those article!> directly. /\bsent

                     the inclusion of technical data in the ITAR. the (TAR·s limits t)n arms

                     transfers woulu be of negligible practical effect because the IT/\R

                     would leave unregulate d the exportatio n of the fundamental

                     technolog y, know-how , blueprints, and other design information

                     sufficient (or foreign powers to construct, produce, manufacture.

                     maintain. and operate the very same equipmen t regulated in its

                     physical form by the TT/\ R.



15 .   The !TAJ< also sets forth the policy on designatin g and determini ng how a

       '>pecific article or service may be designated a:-. a defense article or defense

       service.



           ii.    Pur<.;uanL   LO   'section 120.3, a par1icu lar article or service wi ll he designated

                  as a defense an icle i r it: ·'(I) Meets the criteria        or a defense article or
                  defense service on the U.S. Munition s List; or (2) Provides the cquivalen L

                  performan ce capabilities of a defense article on the U.S. Munition s List.''


           b. Scc tjon 120.3 also provides that a specific article or service ·'shall be

                  determine d in the future as a defense article or defense service if it

                  provides a critical military or intelligence advantage such thal it warrants

                  contro l.. under the lT/\R.




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          c. Section 120.3 also specifies that the ·' intended use of the article or service

               after its export (i.e., for a military or civilian purpose), by itself, is not a

               factor in determining whether the article or service js subject to the

               controls of this subchapter:·




I().   ITAR ju risdiction extend<; only to the export      or defense articles. defense services,
       and technic;il data. [,'or th is reason, !TAR cincs not limil the ability of Defense

       Dislrib utecl nr others   IO   distribute CAD files to U.S. persons wi1hin the United

       Slates for domestic use.



The Commod ity Jurisdiction (C.I) process

17.    Commod it) .Jurisdictions. commonl y relerred to as ··CJs;· are the determinati on

       made hy the Departme nt of State identifying rhe expo rt co ntrol jurisdiction of

       goods, services and information.



J 8.   The purpm,c of th ese determinations is to reach a conclusion as to whether, for

       purposes of export controls, goods, services, or information arc under the

       juri"diction of the Deparlmc111 of Stale pur$uanl lo ITJ\R or under the jurisdiction

       of the Department of Commerc e, which administers the Export J\dminislration

                                 5
        Regulations (EAR).



' J\ few c.;ategories of goods, services, or information are under the jurisdictio n of the
Deparlmen l of Energy, Departme nt of Homeland Security, or ano ther Executi ve Branch
agency. Goods, services, or information may also be within Lhc public domain and not
subject to cxporl controls at alJ.


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llJ.      Section 120.4 l)rthc !TAR establ ishes the CJ procedure," which .. is used with the

          U.S. (,overnm ent iC doubl exists as lo whether an article or service i.s covered by

          the U.S. Munitions List. ft may also be used [or consic.lcration of a re-designation

          of an artic.:lc or service currently covered by the U.S. Munitions List. The

          Departme nt must provide notice to Congress at least 30 days before any item is

          removed from the U.S. Munitions List." As required by Section 120.4. the

          determination ··emails consultation among the Depanmcnts of Slate, Defense,

          Commerce, and other U.S. Government agencies and industry in appropriate

          cases:· In the vast majority of circumstances, the CJ procedure is unnecessa ry

          because 1hen: is no douh1 as to whe1her an item to be exported is a dcfc11. c article

          or defense service.



10.       Section 1'.W.4 of 1hc !TAR sets forth the criteria for making a CJ determination:

          /\ designalion that an article or service meets the criteria of a defense article or

          defense service, or provides the equivalen t performance capabilities of a defense

          article on the U.S. Mu ni tions List set forth in th.is sobchapter, is made on a case-

          by-casc basis hy the Departme nt of State. taking into account:




                  (i) The ftmT\ and fit   or the article; 7 anc.l


" See 58 FR 3928], July 22, 1993, as amended al 71 FR 20536, Apr.21.2 006; 75 FR
46843, 1\ug. 4, 2010; 78 FR 22753. Apr. 16, 2013; 79 FR 8084, Feb. 11, 2014.

 ; The form of a commodi ty is defined hy its configura tion (including the geometrically
 mca~urcd c<)nfiguration). rnatcri<il, and material properties 1hac uniquely cha racterize ir.
 Thi..; fit of a co mm odity is defined by its ability to physically in terface or connttl with or
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                 (ii) The function and performan ce capability of the article.~



~   I.   Section I 20.4(f) rurther requires that ··State, Defense c1nd Commerce will resolve

         commodity jurisd iction disputes in accordance with cstnbli shecl procedures. State

         shall notify Defense and Commerce of the initiation and c.:onclusion of each case:·



22.      Section I 20.4(g) prov ides an avenue for appt.!al or a CJ determinatio n:

         /\ person may appeal a commodity juri<;diction determination hy <;ubrnilting a

         written request fo r reconsideration to the Deputy /\s~islcln l Secretary   or Stale for
         Defense Trade Controls. The Deputy Assistant Secretary's determination of the

         appeal will be provided, in writing, wi thin 30 days of receipt of the appeal. If

         dL:sired . an appeal of the Deputy Assistant Sccretary ·s decision can then be made

         to the Assistant Secre1ary for Political-MiJitary Affairs.



--~-
?''       DTCP conside rs a variety of information in its consideration of CJ requcc,,ts,

         including the information n11ached to the request (such as product brochures .

          technica l spccifkHlions and/or blue prints, sales infonnation, etc.), the USML

         category in which an ite m most likely may fit. previous CJs on the technolog y or

          related mattcrs. and previL)UsJy -issucd export licenses for "imilar items.




become an integral part o f another commodity. [See Note 1 Lo paragraph (d), section
120...l of the IT AR.

x The function of a commodi ty is the action or actions it is designed to perform.
Performance capahility is the measure of a com modi ty 's effectiveness to perform a
dc!-ignated function in a give n environm ent (e.g., measured in terms of ~peed. durabilit) ,
reliabili ty, pressure, accuracy. efficiency).
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         J\1'1er DTC'P prepares a preliminary analysis. thl! CJ request and preliminary

         ;111alysis arc circula1cd   l<J   the relevant interagcncy partners for consultation.



Defense Distributed's CJ Requests

24.      In early May, 201>, OTCP became aware th rough media reports that Defense

         Distributed (DD), a pending 501(c)(3) non-profit corporation localed in J\ustin.

         Texas, had placed on an unrestricted websile executable Computer Aided Design

         (CAD) files enabling the manufacture of plastic firearm components. accessories.

         and attachments with a 3D printer. See, e:g., Exhibit I.



25.      J\':> " result, 1hc Dt:partmc nt ~)r State ·s Oflict: or Ddcn,~ Trade Control.s

         Complian ce (DTCC) became concerned 1hal these files might be subject to the

         IT/\R, in which case DD might be exporting these files without authorization.

         DTCC therefore sent a letter to DD, suggesting that they remove the files from

          their website and submit CJ requests to determine whether the files were

         controlled by the ITAR. See Exhibit 2. DD complied with the request and on

         June 21 , 2013, submitted ten CJ requests. See Exhibit J.



26.       In its CJ submission, DD identified a number of publicly available sources for

          information on how to manufact ure firearms and rel;ued comroncn ts, including

          books on g unsmithin g and gu n design blueprints and ~chematic s availi1hle in a

          varie1y of media. inducting on 1he lmernet. DD asserted that their CAD files were

          no different from any other medium lhar contains b<1sic manufacturing .. know




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      how" for Ii rearms, and thal these files should be found to be in the public do main

      and noc controll ed under the ITAR. See Exhihit 3.



27.   In add ition to conferri ng with other agencies in accordance with !TAR Sect ion

      120.4, DTCP sought to better understand additive manufact uring and 31) priming

      hardware and technolog y and its evolution and diffusion, the impact of the

      av,1ilabilit y of CAD fi les (and nthcr, simi lar data files) on the enforcem ent of

      cxpon controls, and the applicatio n o f multilateral export control regime.

      panicubu ly lhe Wassenaar Arrangement on Export Controls on Convemio nal

      Arms and Dual -use Goods and Technolog ies, to such files and technologies.

      DTCP consulted other State Depanme nt offices and U.S. government agencies ro

      benefit from their expertise ·and consideration of these technologies and issues. In

      addition, DTCP organized H conferenc e on additive manufact uring/3O printing

      lcchnolog y in March 2014.



28.   In January 2015, \\ hile cOn!-.idcration of Do· s June.201 3 C-J requests wa:-;

      ongoing. DD submitted a CJ request for the ··Ghost Gunner," a computer

       numc.:rically c.:ontro llccl (CNC) press for milling metal firearms wmponcn ts. See

       Exhibit 4. On April 15, '.20 l5. DDTC responded hy providing a CJ determina tion

       to Defense Distributed, finding that the Ghost Gunne r would not be subject to the

       jurisdictio n of the Departme nt of State. See Exhibit 5. In the course of

       considera tion of the Ghost Gunner, DTCP determine d that project files and data

       riles for producing   r1   defense article on a 3D printer or simi lar device constitute d

       technical data on that defense article that would be subject to ITAR jurisdictio n ,


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      Resolution of the Ghost Gunner CJ reques r also hdpcd DTCP conclude the CJ

      rrocess !'or D[Ys .June 21.2013 CJ req uests. On June 4, 2015, DTCP provided CJ

      determ inations for the requested items. See Exhibit 6.



Dl>TC's CJ Determination

29.   In making it!> CJ determination, DDTC identified several factors that warrant

      treatment of DD"s CAD files as technical data sub_ject to ITAR jurisdictio n.



          a. The te-ntral runction of DD· s executable CAD files appears to be to enable

              the manuf,1cturc of end-items that arc IT/\R-con trnll ed defense articles.



          b, /\s DD described in its Ghost Gun11t!r CJ request, DD"s CAD tiles can be

              used to ··automatically find. align, and mill'" a defense article such as a

              firearm on a 3D printt:r or other manufacturing device. Manufacture of a

              defense article in this way requires considerably less know-how than

              manufacture in reliance on conventional LcchnicaJ data, which merely

              iuides the manufacture of a defense article and requires add i tional

              craftsmanship, know-how, tools, and materials.



          c. /\l lho ugh DD contended that the technical data co ns1i tu1cd publi shed data

              already in 1hc puhlic c.lonrnin, the exis1i11g material in the public domain

              identified by DD did not i nclude C/\D files that cou ld he used w

              automatically generate defense articles. Because CAD fi les providc the




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             additional functionalit y described abuve. DIYs CAD files arc a

             meaningful step beyond previous, public-dom ain material.




         d. In addition. because DIY:,; CAD lilcs are information simil ar to

             .. blueprin ts. dra1,,vings, photographs . plans. instructions or docttmentaL1011··

              that can be used to automatically manufacture dcfen,;c articles. DDTC

             concluded that the regulations place them within lTAR commodities

             jurisdiction .



30.   Based on thc~e considerations, its consultations with other State Departmen t

      offices and U.S. gove rnment agencies, its own expertise, and the       tex t   of the

      /\1:C/\ and ITAR. DDTC concluded that 11D·s CAD files fall within the

      _jurisdiction of the lTAR as techn ical dala under Ca tegory I. subsection (i) of the

      USML relying on tht: definition of technical data in .22 C.F.R .     *120. lO(aJ( 1).
      DDTC concluded that other in f'ormation. inc luding a ··read-me·· Ille subm itted l,y

      DD for a CJ determination. did not fall within the jurisdiction of the lT/\R.

      ,\ccordingl ), DDTCs determination does not restrict DD from discussing

      information and ideas t1b6ut 30 printing, either domesticall y or internationally. as

      long as such discussions do not include the export of technical data.



31.   Classification of DD"s CAD tiles as within the jurisdiction of the IT/\ R is not an

      outright prohibition on the export of these files. Rather, lTAR requires that DD

      obtain a '· I icensc or other approval ... pursuant LO the ITA R prior 10 any cxporC

      for these CAO files.


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J2.      Should DD submit an application for approval to export its CAD files, DDTC will

         review the proposed export. includi ng its intended recipients and the type. fo rm.

         and scope of the export. DDTC will consider the application in ac.:cordancc with

         the factors enumerat ed in 22 C.F.R.   ~   126.7, including whether such export is

         prohibited ··by any statute of the United Stales:· 22 C.F.R.        ~   I 26.7(a). whether

         such export wou ld be ·'in furtherance of world peace, lhe national security or the

         l<.)rcign policy of the United States:· 22 C.I·.R.   *126.7(a)(I ). "\11cther ··[aln
         applicant, any party to the export or agreement. ttny snurce or nrnnufacturer of the

         defem,e aniclc or defense service or any person who ha~ a significant interest in

         1he transaction has been debarred, suspended , or otherwise is ineligible to receive

         an txport license or other authorization from any agency of the U.S. government.··

         id.~ 126.7(a)(6). In addition. there are numerous counlries to which exports of

         some or all' categories of defense arlicles are prohibited. See, e.~., 12 C.F.R.        ~


          126.L



~J.      In my experience, the overwhel ming majority nf fTAR licensing applicatio ns are

         approved outright or approved with condi tions intended        LO   safeguard the defense

         article being exported from use in a way that wnuld damage worlcl peace or the

          na tional security or foreign policy interests or the United State~. Of course, any

         g.i,·cn licensing app lication will on ly be approved if the application satisfies the

          standards required under 22 C.F.R.    *J26. 7.


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Likely Effects of the Preliminary Injunction Sought hy Plaintiffs


'.14.     The entry tlf'<l prclirnina ry injunction authorizing the posting or oo·s C/\D fi les

          to the lmcrnet without restriction would make those filt:s available worldw ide to

          any Internet user, thereby permitting the export of those files to any foreign

           perso n or foreig n power v,1ith access to DlYs website . Such an injunction woulcl

           deny DDTC the opportunity to consider, among ocher things, whether any specific

           export of oo·s C/\D files would violate the law or would cause <;ignificant harm

           to the national security or foreign policy interests o f the United States.



35.        Absent a specific request for an export license, I have considered the likely

           impacts o fan unrestricted export of O0-s CAD files co any interested person.

           entity. or fo reign power and concluded that the likely effect of ;i prelimina ry

           injunction wo uld be to cause significant harm to the na1ional security and fo reign

           policy in terests of the United States. Although a comprehensive enumeration of

           lhc possibk hanm; wou ld be difficult, I can identify the following as among the

           most concerning:



               a. The ''Liberato r" firearm included in   oo·s CAD designs presents a specific
                   and unique risk to the national security and foreign policy interests of che

                   Uni1ed States. The Liberator is a plastic firearm which can be produced in

                   a wi-\y HS lo be both fully operable and virtuall y undetectable by

                   conventio nal security measures . uch its metal de1cctors. police and

                   security services, could particularly. (though not uniquely) cause damage

                    U .. fo reign poljcy interests. If U.S.-origin CAD file~ were used to

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              manu facturc un undetectable ·'I ,iberator"· in a fore ign country. and that

              weapons was then used to commit an acl of terrorism, pirncy,

              assassination. or other serious crime (e.g., to compro m ise aviation security

              overseas), the act itself - or the interests of a foreign country in holding

               the United States accountable - could cause serious and long-lasting harm
                                                                                             1
               Lo the foreign policy and national security interests of the United States.'


           h. The United States and other countrie s rely on internat ional arms

               embargoes. export controls. an<..I other measures to restrict the availability

               of defense articles ~ought hy terrorist organilc1tions. Making DD' s CAD

               files available through unrestri cted access on the fnterne t wo uld prov ide

               any such organization with defense articles, including firearms, al its

               convenience, subject only to its access to a 3D printer, an item chat is

               widely commt.:rcially available. Terrorist groups and other actors could

               then potentially manufacture and use such weapons against the United

               States or its a llies.


           c. Making DD' s CAD files available through unrestricted acces!> on the

                In ternet would likewise provide acccs,;; to the firearms compon ents and

                replace ment parts to armed insurgent groups, transnational organiz
                                                                                    ed

                criminal organizations, and states subject to U.S. or UN arms embargoes.



'' Unde tcttahle fi rearms are unl,iwfu J in the Un ited States pursuant
                                                                         to the Undetectable
                                                                                        includes
Firearms Act of 1988. See 18 U.S.C. § 922(p). /\ !though the "Libera tor'· design
                                                                                  rs, this metal
 insertion of a six-ounce piece of metal to make it detectable by metal detecto
                                                                           it to be bot h
content can bc removed without rendering jt inopcrahle, thereby permitting
operable and undetectable.
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          Access to weapons technology coupled with the uncontro lled and

          increasin gly ubiquito us mean,;; or production (i.e., JD printers or other

          similar manufac tudng technolo gy capable of cxccu1in g CAD fi les) could

          ctintribute   lO   armed conilict, terrorbt or crimi nai acts. ~,ncl seriousl y

          undermi ne global export control and non-pro liferation regimes designed lo

          prevent the dangerous and destabilizing spread and accumul ation of

          weapons and related technologies. U.S leadership in lhesc areas also

          would suffer, co ntri buting overall to a more dangerous internatjonal

          environment.


     d.   Many countrie s. includin g importan t U.S. allies, have more restrictiv e

          firearms laws than the United States and have identifie d firearms CAD

          files for 30 printers as a threat 10 donH::stic fire<1rm ~ Jaws. For example,

          both the Uni ted Kingdom and Japan have arrested individu als for

          manufac turing or attempti ng tO use firearms CAD files and 30 printers to

          manufac ture firearms . See, e.g., hup:!fww w.bbc.co m/new\ led111ol0 Q.v-
                                                                     1



          '7 7322947 , accessed , June 6, 2015. Unrestricted exports from the United

           Stutes of munition s or Lcchnical data, such as DIYs CAD file!:>. which

           coulc.l be used to automat ically manufac ture a firearm or other defense

           article. would undercut the domestic laws of these nations, increase the

           risk of domestic violence in rhose countries, and thcreny damage U.S.

           foreign relations with those countrie s and foreign policy interests.




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36.    Int my judgment, the entry of a preliminary injunction in this matter would

       in.crease the risk of all of the foregoing harms. Indeed, such an injunction could

       reasonably be expected to bring attention to DD's CAD files, making awareness

       of their capabilities and accessibility known more widely to individuals, entities,

       and foreign powers that would make use of DD's CAD files to the detriment of

       U .S. foreign policy and national security interests.



I declare under penalty of perjury that the foregoing is true and conect.


Executed.on June 10, 2015.




                                                      Lisa V. Aguirre




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3D-print~1ble guns are just the start, says Cody
Wilson
The inventor of 'The Liberator' plastic firearm believes in an open future and the 'complete explosion'
of all gun law

Alex Rayner
Monday 6 May 20131156 EDT

    ody Wilson is a polite, 25-year~old law student at the University of Texas in Austin,
C   with dark, close-cropped hair and a forward, affable charm. This week he plans to
    release the blueprint for a gun that can be downloaded from the internet and produced
using a 3D printer.
He and his friendls have spent almost a year developing the Liberator, a "Wild weapon" that
can be assembled from components made on an $8,000 (£5,.150) printer that they bought
on eBay. Using files shared online, the machine creates the solid parts from layers of
plastic.
Wilson's group, Defense Distributed, thinks everyone should have access to a gun and is
working to make it possible through Defcad.org, a depository for weapons designs. It was
set up in December after its files were removed from another site following the Sandy Hook
elementary school shootings. In March, Wilson was issued a federal firearms licence,
allowing him to 1nake guns legally.
"I come from a typical middle class family, for the United States in the south: religious
parents, conservative values, though we didn 't own a lot of firearms," he says. "We had one
shotgun that we never really used."
Despite buying a shotgun shortly after turning 21, Wilson says it was his studies, first as an
English literature major, then as a law student, that started his interest in the politics of
weapons ownership. "I read [19th-century French anarchist theorist Pierre-Joseph]
Proudhon," he says, "I like Jean Baudrillard. I like their critiques of mass culture."
He admits that given current technology, printing a gun is the least effective way of
obtaining a firearm, and that it is easier to simply fashion a gun from the contents of any
hardware store.
Yet he half hopes, half believes that soon, thanks to the convergence of file-sharing and 3D
printing, there \!\rill come about "a complete explosion of all available gun laws. I think we
should be allowed to own automatic weapons; we should have the right to own all the
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terrible implements   of war, as [American political philosopher]  Tench Coxe
think this principle probably applies globally."
A self-described child of the internet age, Wilson is an admirer of Julian Assange and Kim
Dotcorn. "I number myself among them, at least in spirit" he says. "I think the future is
openness to the point of the eradication of government. The state shouldn't have a
monopoly on violence; governments should live in fear of their citizenry."
His ambitions don't stop at firearms . Ultimately, he wants to turn Defcad into "the·world's
first unblockab1e open-source search engine for all 3D printable parts", a Pirate Bay-style
archive not only for printable pistols, but for everything from prosthetic limbs to drugs and
birth-control devices.

More features
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Shots fired from world's first 3D-printed
handgu11
Cody Wilson, 25, successfully tested plastic handgun built by his Texas firm Defense Distributed using
an $8,000 3D printer
Adam Gabbatt in New York
Monday 6 May 2013 14.43 EDT


The world's first gun made almost entirely by a 3D plastic printer has been successfully
fired in Texas.
The successful test of the plastic handgun, which was built by Defense Distributed using an
$8;000 3D printer, came after a year of development. The company, which is run by 25 -
year-old Cody Wilson~ now plans to publish the blueprints for the gun online.
Wilson and a cornpanion successfully fired the gun for the first time i.n Austin, Texas, at the
weekend, Forbes reported. A video published online shows the gun held in place by a metal
stand, with yellow string attached to its trigger. By yanking on the string, the pair were able
to pull the trigger from 20ft away, successfully discharging a .380 caliber bullet.
Defense Distributed's device is controversial because of the way it is made. Fifteen of its 16
pieces were constructed in a second-hand Stratasys Dimension SST 3D printer, Forbes said.
The final piece, the firing pin, is a common nail available from any hardware store. The
printer used ABS plastic to create the gun parts, which were then slotted together by
Wilson. After Forbes's revelation, the BBC filmed a later test~ in which Wilson successfully
fired the gun by hand.
The Undetectable Firearms Act of 1988 makes it illegal to manufacture in the US any
firearm that is not detectable by walk-through metal detectors. To combat this, Wilson
inserted a 6oz piece of steel into the body of his gun, making it legal.
How long the law stays this way remains to be seen~ however. On Sunday, New York
senator Charles Schumer called for legislation to make building a gun with a 3D printer
illegal, and said he and the New York congressman Steve Israel would introduce the
Undetectable Firearms Modernisation Act, which would ban weapons like Wilson's.
Such an act wou.ld not be the first setback for Wilson, a law student at the University of
Texas. An attempt to raise money for the 3D printed gun project through Indiegogo was
thwarted when the cr.owdfunding website took his pitch offline, citing a breach of rules.
After Wilson raised $20,000 through Bitcoin donations, he was hindered again when
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Stratys seized back his printer.
Defense Distributed acquired a second-hand Stratys~ however, and carried on
experimenting. V\Tilson successfully made and tested parts of an AR-15 semi-automatic rifle
- the weapon wh:ich has been used in a number of mass shootings in the US - before turning
his attention to a plastic handgun.

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O¾recr Dial, 20-2,293-8145
jhartwig@will.i:u11smullen.com



                                                                                          June 21, 2013



Ms. Sarah Heidema
U.S . Depattmentof State
Directorate of Defense Trade Controls
PM/DDTC, SA-1, Room 1200
2401 E Street, NW
Washington, DC 20037


Subject:         Commodity Jurisdiction Requests for Data Files Posted by Defense Distributed

Enclosures:            (1) Printouts of Drawings from Files Posted at DEFCAD.org
                       (2) Wikipcdia Page for 125mm BK-14M HEAT
                       (3) Thingiverse Page.for Sound Moderator
                       (4) Thingiverse Page for VZ-58 Front Sight
                       (5) Examples of Solvent Trap Adapters
                       (6) Examples of CAD Files for .22 Pistols
                       (7) Examples of CAD Files for Muzzle Brakes
                       (8) Examples of CAD Files for Slide Assemblies
                       (9) Examples ofCAD Files for Voltlock System

Dear Ms. Heidema:
         D•;;:fcnse Distributed has been requested by DTCC/END to submit requests for
commodity jurisdiction determinations jn connection with Case No. XX-XXXXXXX for ten sets of
data files posted to DEFCAD.org. As demonstrated below, the files arc primaiily Computer
Aided Design (CAD) data files and should be considered public domain information that is
excluded from the !TAR pursuant to Section 120.11. Defense Distributed therefore respectfully
requests a determination that these files arc not subject to the ITAR.

COMMODITY DESCRIPTIONS
         Each of these Commodity Jurisdiction requests relates to data files, almost all of which
are essentially blueprints that can be read by CAD software. A description of each file or set of
files is set out below. The fi1es are in one of the following formats:
                 o     STL (STereoLithography or Standard Tessellation Language) is a file format
                       native to the stereolithography CAD software and can be used with some 3D
                       printers. "Stereolithography" is a means of creating physical 3D models of objects
                       using resin or carefully cut and joined pieces of paper. STL files describe only
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               the surface geometry of a three dimensional object without any representation of
               color, texture or other common CAD model attributes.
            o  The lGS (Initial Graphics Exchange Specification) file fo1mat is the standard
               format for transferring three-dimensional models between CAD programs. lGS
               files can store wireframe models, surface or solid object representations, circuit
               diagrams, and other objects.
            ~ SLDPRT is the proprietary image file format associated with the SolidWorks
               brand CAD software. SLDPRT files contain three-dimensional images of one
               specific part of a product.
            • SKP is .t he CAD drawing format for Google $ketchup, which is a quick, entry-
               level 3D drawing program.
There are also a small number of Word (.DOC), text (.TXT) or image (.JPG or .BMP) files. A
printout of each file is attached to the relevant DS-4076.
      As explained further below, each of these files either was previously placed in the public
domain or contains only public domain information.
    1. Liberator Pistol Data Files
          The files for the Liberator Pistol include sixteen STL files for the various parts and
components of the pis10I, tvvo "read me'-' text files that explain how to lawfully assemble the
pistol , a diagram of a pistol, and a permissive software license, If printed on a 3D printer, the
pruts could be assembled into a single shot .3-80 caliber firearm,
    2. .22 Electric Data Files
        The files for the .22 Electric are two stereolithography (STL) CAD files for models of a
barrel and grip for a .22 caliber pistol. ff printed, the barrel would be a plastic cylinder with a .22
mm bore and the grip would be a plastic piece with two 5mm diameter holes. If those pieces
were printed in plastic and used with an electronic system and firing mechanism, the barrel
would be expected to fail upon firing.
    3. 125 mm BK-14M High Explosi-ve Anti-Tank Warhead Model Data File
        Ttte file is a STL CAD file for a model of a BK-14M high explosive anti-tank warhead
without fins. The model, if printed on a 3D printer, would be a solid piece of plastic in the shape
of the warhead, but would not be capable of functioning as a warhead.
    4. 5.:56/.223 Muzzle. Brake Data Files
        The data files are three different CAD file formats (.lGS .. SLDPRT, and .STL) for a
model of a 5.56/.223 muzzle brake. If printed on a 3D printer, the model would be a plastic
piece in the shape of the muzzle brake, but would be expected to fail if used with a weapon.
    5. Springfield XD-40 Tactical Slide Assembly Data Files
     Tbe files arc nineteen Computer Aided Design (CAD) data files in the Solid Works
.SLDPRT file fo1mat for models of components of a pistol slide for the Springfield XD-40. The
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components, if printed on a 3D printer, would be plastic pieces in the shape of the components of
the slide assembly, but would be expected to fail if used with a weapon.
   6. Sound Moderator - Slip On File
        The file is a stereolithogral}hy CAD file for a model of a slip-on sound moderator for an
air gun. The model, if printed on a 3D printer, would work with an air gun, but would likely
melt if used with a firearm.
    7. "The Dirty Diane" ½-28 to ¾-16 STP S3600 Oil Filter Silencer Adapter Files
          The file is a CAD data file in the SolidWorks .SLDPRT file format for a model of an oil
filter silerncer adapter that is typically produced in stainless steel. If printed on a 3D printer, this
item could be used as a solveht trap adapter, which is used to catch solvents that are used in the
process of cleaning a gun. While a metal solvent trap adapter could be used as a silencer, a
plastic adapter would likely melt if used with a weapon as a silencer.
    8. 12 Gauge to .22 CB Sub~Caliber Insert Files
       The files are a SKP CAD fi le for a model of a sub-caliber insert, two renderings of the
sub-caliber insert, and a "read me" text file providing infonnation about the National Firearms
Act and the Undetectable Firearms Act. This item, if printed on a 3D printer, would be a plastic
cylinder with a .22 bore, and would be expected to fail if used with a weapon.
    9. Voltlock Electronic Black Powder System Files
        The files are twelve CAD files for models of cylinders of various bores with a touch hole.
Eleven of the files are in the STL file format and one is in the IGS format. If those pieces were
printed on a 3D printer and used with an electronic ignition, the barrel would be expected to fail.
    10. VZ-58 Front Sight Files
      The files area SolidWorks CAD file in the .SLDPRT file fonnat and a rendering ofa
model of :a sight for a VZ-58 rifle. ff printed on a 3D printer and used with a weapon, the sight
would be expected to faiL

DATA ORIGIN
        With the exception of item 1 (Liberator Pistol Data Files), each of these files was
provided 1to Defense Distributed by the creator of the files identified in the DS4076. In addition,
as cxplairned below, many ofthese files were originally posted to www,thingiverse.com or other
internet sites, and were freely available to any person \.vith access to the internet.
        The Liberator Pjstol CAD files were developed by Defense Distributed. The Liberator
pistol was designed as a combination of al.ready extant and working files and concepts. The
pistol frame, trigger housing, and grip specifications were all taken directly from an AR-15 lower
receiver file that is in the public domain. The spring file is taken from a toy car file available on
Thingiverse. The hammer relies on striking a common roofing nail, and the barrel is a cylinder
bored for .380. The gun functions because of the properties of the .380 cartridge - the brass
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casing itse:lf is relied on to act as a breech. The printed and assembled gun is a simple improvised
weapon, not as complex as many of the improvised weapons of the 20th century, those available
in Anny manuals. etc. All of the technologie s used to create the Liberator data files are widely
available in the public domain.

IDENTICAL & SIMILAR }'ILES
      The Liberator Pistol data files are for an improvised firearm that is similar to and based
on numerous items that are avaiJablc on the internet as well as in various books. The Library of
Congress online catalog lists nurnernus books on gunsmithing, including
           •     Clyde Baker, Modern gunsmithin g; a manual of firearms design; constructio n,
                 and remodeling for amateurs & professionals (1959)
            0    John E. Traister, Clyde Baker's Modern gunsmithin g: a revision of the classic
                 (198 I)
            •    Frank de Haas, Mr. Single Shot's gunsmithin g idea book (1983)
            o    Roy F . DunJop, Gunsmithin g (1996),
            •    Franklin Fry, Gunsmithin g fundamenta ls : a guide for professiona l results (1988),
            •    James Virgil Howe, The modern gunsmith : a guide for the amateur and
                 professional gunsmith in the design and construction of firearms, with practical
                 suggestio_ns for all who like guns (1982),
            •    Gerard MetraJ, A do-it-yours elf submachine gun: it's homemade, 9mm,
                 lightweight, durable, and it'll never be on any import ban lists! (1995),
            •    Jack Mitchell, The Gun digest book of pistol smithing ( 1980),
            •    J. Parrish Stelle, The gunsmith's manual; a complete handbook for the American
                 gunsmith (1883), and
            •    Patrick Sweeney, Gunsmithin g: pistols & revolvers (2009),
among many others. Examples of online sources include:
            •    http://www .wcaponsco mbat.com/z ip-pipe-and-pen•guns
            ci   h!!P.://v,,rvrvv.infinitearms.com/images2/v/manuals/.tvijsc+Gun+Plans
            o    http://theho mcgunsmith .com
            •    http://www .scribd.com /doc/24445 44 I /Pen-Gun-M k I-Blueprint
            o    https://www .google.com /search?g=z ip+gun+blu eprints&rlz =l CI SK.PM enUS43
                 6U S489&source=lnms&tbm==isch&sa=X&ei=9t-
              oUZybJILm8 wSx0YHoB g&ved=0CA oO AUo/\Q&b iw=l 600&bih=8 37
           • http://ebookbrow se.com/gu/guns-homem ade
Although DD converted this information into CAD file fonnat, DD does not believe that it
crea1ed any new technical data for the production of the gun.
       A drawing of the 125 BK-14M HEAT (Item 3), including measureme nts. is currently
available on Wikipedia at http://en.wi kipedia.org/wiki/File: 125mm BK- 14m HE/\T.JPG.
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         The Sound Moderator CAD file (Item 6) was published on Thingiverse on March 3, 2011
and is stilll avai lable on that site at http://www.thingiverse.com/thing:6808. The VZ-58 Front
Sight (Item 10) was also published to Grabcad on December 14, 2012 and is still available on
that site at http://grabcad.com/library/ front-sight-for-vz-dot-58-rifle.
       The Oil Fi lter Silencer Adapter is identical to Solvent Trap Adapters, which are produced
by numerous manufacturers and available as commercial products on many websites, including
amazon.com. (see http://www.amazon.com/s/rcf=nb sb noss 1?url=search-
alias%3D;automotivc&field-
kevwords= solvent+trap+adapter&rh=n%3A 15684181 %2Ck%3Asolvent+trap+adapter.) These
items app,~ar to be commercial products that would be subject to the EAR. As such, any related
technologies or technical data would also be subject to the EAR.
       Examples of CAD files similar to the .22 Electric PistoJ (Item 2), Muzzle Brake (Item 4),
Slide Assembly (ltem 5), and Voltlock Electronic Black Powder System (Item 9) that are
currently available on the internet are attached to the relevant DS4076.
        As demonstrated above, all of the technical infonnation included in the data files posted
to DEFCAD.o rg w~s previously available in the public domain. As such, this information is
excluded from the detinition of "technical data" by 22 C.F.R. § 120.1 O(a)(S). For these reasons,
Defense Distributed respectfully requests that the Department determine that the subject data
files posted to DEFCAD.o rg are not subject to the IT AR.
       This submission contains Defense Distributed confidential business information. We
respectfully request that the submission be kept confidential. If you need additional information
regarding this submission, please contact me at 202-293~8145 or jhartwig@williamsmullen.com.
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                                                            MATTHEW A. GOLDSTEIN, PLLC



VIA ELli:CTRONIC FILING
                                                                                  January 2, 2015
PM/DDTC, SA-1, 12th Floor
Office of Defense Trade Controls
Bureau of Political Military Affairs
U.S. Department of State
Washington, D.C. 20522-0012

SUBJECT:       Commodity Jurisdiction Request for Ghost Gunner Machine, Plastic
               Mounting Jig, User Instructions, and Software (Defense Distributed, Inc.,
               PM/DDTC Code M-34702)

Dear Sir or Madam:

        Pursuant to Section 120.4 of the International Traffic in Artns Regulations ("lTAR") (22
C.F .R. Se:ctions 120- 130)~ Defense Distributed requests a commodity jurisdiction determination
from the Directorate of Defense Trade Controls ("DDTC") on the Ghost Gunner machine (the
"Ghost Gunner''). its plastic mounting jig, user instructions, and software for production,
operation,, and use of the Ghost Gunner.

        The Ghost Gunner is an approximately one-foot-cubed black box that uses a drill bit
mounted on a head that moves in three dimensions to automatically carve digitally-modeled
shapes into polymer, wood or aluminum. It functions as a 3-ax.is computer-numerically-controlled
("CNC'') press that can be used to manufacture parts to firearms controlled under U.S. Munitions
List ("USML'') Category I. It can also be used to manufacture items that are not controlled under
the USMJL. The machine was designed; developed, and manufactured by Defense Distributed to
automatically manufacture publicly available designs with nearly zero user interaction.

       As discussed below, the Department of Defense recommended that Defense Distributed
submit th:is commodity jurisdiction request.

       Export jurisdiction over the Ghost Gunner,. Jig, software, and instructions is uncertain
because., although the Department of Commerce Export Administration Regulations ("EAR")
maintain a control listing for jigs, fixtures, and other metal-working items "exclusively designed
for use in the manufacture of firearms" under Commerce Control List ("CCL") Export Control
Number i("ECCNn) 2B018.n, there is no corresponding carve-out for these items and related
software and technical information otherwise controlled by USML Category I generally; aod
Category I(i) controls technical data and defense services directly related to firearms, with
technical data directly related to the manufacture or production of firearms designated as
Significant Mjlitary Equipment.

       Please note that a letter from Defense Distributed authorizing my law firm to file this
request was uploaded with this DS~4076 submission. Please direct any questions and all
correspondence related to this request to my office.             Communications to me at
matthew@goldsteinpllc.com are preferred.


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l.     BACKGROUND

       A.      Defense Distributed

       De:fense Distributed is a Texas corporation, registered with the Department of State under
PM/DDTC Code M-34702. The company has developed technical information that can be used to
produce, manufacture, and assemble various parts components, accessories, and attachments to
firearms ~~ontrolled under USML Category I. This includes information for the design and
production of the Ghost Gunner, software necessary to operate Ghost Gunner, and code that
allows production of certain items by the Ghost Gunner. 1

       Following notification from DDTC in May 8, 2013, that the agency requires U.S.
Government prior approval before publications of otherwise ITAR-controlled technical data into
the public domain (Attachment 1), Defense Distributed has submitted requests for U.S.
Government clearance of technical data to the Department of Defense Office of Prepublication
and Security Review ("DOPSR").2 On October 1, 2014, DOPSR returned a Defense Distributed
request for clearance of technical information on the Ghost Gunner for public release, stating that
commodity jurisdiction over the item was uncertain and recommending that Defense Distributed
submit a commodity jurisdiction request. See Attachment 2.

       B.      The Ghost Gunner

       Existing CNC machines are expensive or too inaccurate to manufacture firearms for the
casual user. Defense Distributed developed the Ghost Gunner to address this problem by
miniaturizing the build envelope to just large enough to m.Hl common firearm receivers, which in
turn improves rigidity, reduces materiaJ cost and simultaneously relaxes certain design limits,
allowing Defense Distributed to sell an inexpensive machine with more than enough accuracy to
manufacture firearms.

        The first design tested on the Ghost Gunner was for an AR-15 lower receiver and the
Ghost Gunner was able to automatically find, align, and mill a so-called "80%" lower receiver,
which was not a firearm prior to milling. The Ghost Gunner has since undergone several design
revisions to reduce machine chatter, backJash, and jitter, all with the goal of keeping total design
cost low.

      Photographs of Ghost Gunner are provided at Attachment 3 and rendered images of the
machine with the plastic jig are provided at Attachment 4.


1 This commodity jurisdiction request seeks a determination of the code necessary to operate
Ghost Gunner. It does not seek a determination on the various project files specific to production
of certain items by the Ghost Gunner.
2
  In complying with DDTC prepublication review requirements on publication of technical
information into the public domam, Defense Distributed doe-s not intent to~ nor should it be
considered to, waive any defense, claim or right under law.

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 A schematic drawing for the Ghost Gunner is provided at Attachment 5.

 Ghost Gunner fonn, fit, function, and performance characteristics include the following:

 •   It uses a compact, powder coated A36 steel frame and thick stainless T-slot rail, with
     preloaded ball bearings for maximum rigidity. Linear motion is achieveq with low-
     backlash direct-drive ball screws mounted in~line with the cutting surface, thus
     preventing torsional gantry chatter while machining.

 • It incorporates an ~lectronic probe that automatically detects when the machine comes
     into contact with the work piece, allowing automatic part discovery and alignment.
     Ghost Gunner requires conductive parts if auto-discovery and alignment are used.

 • It can manually machine nonconductive materials, but this requires manual calibration
     of a part to the machine • following a few simple instructions - as is required with
     existing CNC machines.

 0
     Its moving parts are entirely sealed from chlp debris. All bearings are sealed and
     contain wipers to prevent foreign contaminate entry. The rails are stainless steel and are
     factory lubricated, but do require periodic wiping to prolong life. End Mills dull over
     time and are considered a consumable.

 0
     To contain aluminum chips, it includes a chip collection tray and all moving
     components are fully enclosed.

 • It is capable of manufacturing deep pockets due to its horizontal gantry, which allows
     gravity to pull chips away from the cutting surface before they can build up and dull
     the end mill, as is the case on traditional CNC designs.

 • It uses industry standard ER-11 collets, and shlps with both 1/4" and 5/32" collets .
 0
     It uses a standard IEC power cord and is compatible with any 110/220V circuit. No
     external power brick is used; the machine is entirely self-contained.

 • It has two ports: Power (IEC standard) and USB (Type 'B').
 0
     Its machinable dimensions are 140 x 75 x 60mm (-5.50 x 2.95     x 2.35")

 •   Its maximum part dimensions are 230 x 90 x 100mm (-9.05       x 3.50 x 3.90")

 •   Its overall footprint is 330 x 280mm (-13 x 11 ")

     Its weight is 20kg (r.45 pounds)


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        0
            Its Spindle Speed is 10,000+ RPM (Final Value TBD)

        0
            Its software requirements are Windows 7 or higher. Mac version TBD

        As noted above, Ghost Gunner is capable of manufacturing more than just ftreann
receivers. With Defense Distributed's open source Physibles Development SDK CpDev"),
designers can distribute files vfa the company's '.dd' file fonnat, which contains all installation and
assembly instructions, any required jig files to hold a part in place (that users can print with a 3D
printer), and all machine definitions and code to physically manufacture a particular design. To a
casual use:r, the .dd file is a one-stop solution to manufacturing any aluminum physible that the
public can design to fit into the build envelope. Defense Distributed will be developing in and
supporting this format.

        The .dd file format is itself open source and not constrained to the Ghost Gonner or
Defense Distributed; any user can define any existing machine's specific parameters via the
machine parameters list. A single file can contain specific code and installation instructions for
any number of machines. A user with both a Ghost Gunner and a Tormach PllOO could
manufacture a particular .dd file on either machine and manufacture the same physible with zero
additional user knowledge, as only the instructions required for a particular machine are revealed
to the end user. The .dd file format is a CNC response to 3D printing's universal .stl file format.
However, Ghost Gunner will also accept TinyG code from any CAM program.

        In operation, users provide the parts for milling. They can then simply plug their computer
into the Ghost Gunner, install the Ghost Gunner software, and download any compatible .dd
design file. 3D printable jigs are used to hold each part in place as each milling step is performed.
For example, milling an eighty percent AR-15 lower receiver requires two jig pieces to secure the
lower in place while the trigger pocket is milled, and then two more jig pieces are installed to drill
the trigger pinholes. As most eighty percent firearms require deep pocket milling, Ghost Gunner's
mounting table is parallel to the end mill shaft. This orientation maximizes 3D printed jig strength,
minimizes jig complexity, and mechanically aligns the part to the machine upon insertion into the
Maker Slide-patterned, Open Source T Slot stainless rails.

       Defense Distributed expects its typical order fulfillment will contain the fully assembled
Ghost Gu1nnet CNC, plastic mounting jig designed to secure 80% AR-15 receivers, operating
software and instructions. Defense Distributed also intends to place instructions and computer
code need.ed to build and use Ghost Gunner into the pubJ ic domain as Open Source technology.

         Block 13 ("Sales information) is not provided with this request because the Ghost Gunner
is still in development as Defense Distributed awaits arrival of various production pieces and
continues t o make any required changes to the product. As such, the company has not yet
delivered any machines (i.e., no completed sales). However, the company has accepted 469 pre-
orders and 413 advance deposits from prospective purchasers. Each of these orders, except for
one, are intended for domestic sale. In addition, consistent with U.S. law, final sales will carry
condHions that limit purchases to private use (i.e., not for commercial or military use).


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       C.      User Instructions and Operating Software for the Ghost Gunner

        111e current draft User Instructions for the Ghost Gunner accompanies this commodity
jurisdiction request at Attachment 6. It contains information on how to attach a "80%" lower
receiver to Ghost Gunner, such that Ghost Gunner can mill and drill all required holes to transform
the loweir receiver into a firearm. Ghost Gunner presents numerous User Instructions, User
Graphics,. and User Selections to the operator. Ghost Gunner perfonns work via Calibration Code
and Milling Code. Ghost Gunner also assists the user in creating 3D printable Jigs, if needed.

       111e software necessary to produce and operate the Ghost Gunner includes AutoDesk
[nventor and a simple executable application that can interpret CNC part files and TinyG code.
Additional information detailing the purpose, function, and capability of the software, as requested
by DDTC 's DS-4076 Commodity Jurisdiction (CJ) Guidance for Software, accompanies this
commodity jurisdiction request at Attachment 7.

Il.    COMMODITY JURISDICTION STAND ARD

        The standard applicable to Department of State and other agency considerations of
commodity jurisdiction is set forth at ITAR Section 120.3. ITAR Subsection 120.3(a) extends
Department of State jurisdiction to any item that meets the criteria of a defense article described
on the U:SML or that provides equivalent performance capabilities; and ITAR Section 120.3(b)
provides that a specific article not presently described on the USML shall be determined in the
future as :a defense article if it provides a critical military or intelligence advantage.

       A.      Relevant US1\1L Control Listings

        Subparagraph (h) to USML Category I controls components, parts, accessories, and
attachments for firearms to .50 caliber inclusive. The Ghost Gunner does not meet the Category
I(h) criteda because it is not a component or part to a firearm. Rather, it is a machine that can be
used for the manufacture of such articles.

        Subparagraph (i) to USML Category I controls technical data, to include "software" as
defined alt Section l20.45(f), and defense services directly related to the firearms and components,
parts, accessories, and attachments for firearms to .50 caliber inclusive. Technical data directly
related to• the manufacture or production of firearms controlled in Category I is designated as
Significant Military Equipment.

        The US.ML does not contain a control listing that describes items used for the manufacture
of firearms. Instead, that listing is contained on the EAR Commerce Control List ("CCL") entry
for ECCN 2B018.n, which controls "Jigs and fixtures and other metal-working implements or
''accessories" of the kinds exclusively designed for use in the manufacture of firearms. ECCN
2D018 controls software" for the "development", "production'' or "use" of equipment controlled
by 2B0 18; and ECCN 2E0 18, in tum, controls "Technology" for the "use" of equipment
controlled by 2B0 l 8.

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       The. scope of the CCL controls on firearms manufacturing equipment and technology is
unclear be:cause the EAR only controJs items not described on the USML and Category I does not
contain any carve-out from IT AR control for software or technology controlled under ECCNs
2D018 and 2E018. To the contrary, if literally applied, USML Category I(i) treats such technical
information as Significant Military Equipment.

        Because there is no specific carve-out in Category I or elsewhere in the USML for
software or technology controlled by 2D018 and 2E018, it is very difficult to distinguish between
technical data for the manufacture or production of firearms controlled in Category l and
technology for the development, production, and use of equipment used to manufacture firearms
controlled at 2D018 and 2E018. This is a primary concern of the present commodity jurisdiction
request.

       N e:vertheless, EAR control is consistent with U.S. Implementation of Wassenaar Controls.
Specifically, ECCNs 2B018, ECCN 2£018, and 2B018 are Wassenaar Arrangement-based
controls, s:ubject to the National Security reason for control and which correspond to Category 2 of
the Wassenaar Arrangement List of Dual-Use Items. In fact, 2B018 is titled, "Equipment on the
Wassenaar Arrangement Munitions List."

       Although relevant text of the IT.AR and EAR control listings lack clarity, it appears that
the U.S. Government decided to implement export controls on firearms manufacturing equipment
and associated technical information in the EAR when it first implemented the Wassenaar
Arrangement controls for such items. Accordingly, Defense Distributed believes that the Ghost
Gunner does not meet criteria of a defense article described on the USML and that it does not
provide equivalent performance capabilities to an article described on the USML.

       Defense Distributed further notes that the DDTC should consider amending USML
Category I to provide an express carve-out for EAR items controlled under ECCNs 2B018.n,
ECCN 2E018, and 2B018. AJtematively, if DDTC intends to control firearms manufacturing
equipment under the USML, it should make this clear in the reguJations. Towards this end, any
determination on the instant request that imposes ITAR control should be widely disseminated and
shared wi1tb the fireanns manufacturing industry.

       B.      Ghost Gunner Does Not Provide a Critical Military or Intelligence Advantage.

         As noted above, ITAR Section 120.3(b) provides that a specific article not presently
described on the USML shall be determined in the future as a defense article if it provides a
critical miilitary or intelligence advantage.

        The function and performance of the Ghost Gunner does not provide a critical military or
intelligem;e advantage. Rather, it is essentially a jig press based on a simple design that is easily
replicated by aoy skilled machinist. In fact, the Ghost Gunner can be produced by persons with no
fonnal engineering background.


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       In addition, Ghost Gunner builds on technology readily available in the Open Source
communitty,         including       the        gshield      3      axis       motion         hardware
(http://synth.etos.myshopify.com/products/gshield-v5), the grbl g-code parser and motion
controller (https://github.coro/grbl/grbl), and the Arduino microcontroller (http://arduino.cc),

        F1urther, instructions and/or electronic files for production of jig presses with similar form,
fit, and function to the Ghost Gunner are publicly available for download at a variety of web
addresses, to include the following:

       http://aresarmor.com/store/Item/Polymer-80-Black
       http://www.thingiverse.com/thing: 160266
       bttps://github.com/DefiantCad/defcad-repo/tree/rnaster/R.i f1es/ AR-
       15 _ 80_percent_lower_v5-shadowfall/AR-15_ 80_percent_Lower_Drill_Jig_vl -Shadowfall
       htip://www.advancedrifles.com/3d-printed-j ig-version-2-0/
       http://www.80perc-entarms.com/products/80-ar- l 5-easy-jig
       http://www.sienanevadaarms.com/jig.pdf
       ht:tp://wwv,.rockethub.corn/projects/24384-80-lower-receiver-ar 15-ar 10-rudius-1911


ID.    CONCLUSION

        Considering the apparent intent of the U.S. Government in implementing relevant
Wassenaar Arrangement controls in the EAR, Defense Distributed believes that the Ghost Gunner
does not meet the criteria of an article described on the USML. In addition, the Ghost Gunner
does not provide a critical military or intelligence advantage. Accordingly, Defense Distributed
respectfully requests that the Department of State issue a commodity jurisdiction detennination
stating that the Ghost Gunner, its plastic mounting jig, operating software, and production and
operation insti:uctious do not meet the criteria of ITAR 120.3 and are subject to Department of
Commerce jurisdiction under the EAR.

       Defense Distributed authorizes the release for general publication of the information
contained in Block 5 of the DS-4076 Form. However, other information in this request and
documents submitted with Defense Distributed's DS-4076 Submission contain sensitive business
information that is proprietary, confidential, and exempt from disclosure under the Freedom of
Information Act, 5 U.S.C. Section 5521 and is also protected under the Trade Secrets Act, 18
U.S.C. Section 1905. Accordingly, pursuant to IT.AR Section 130.15, Defense Distributed
requests that information in this submission other than that contained in Block 5 be withheld in the
event of a request for its disclosure.




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          Cody Wiison. the Principal of Defense Distributed, cenifies that he is lh~ duly 1.rud1ori1l·d
          rei,re1-entative of Defense Dlstributoo; and that in such capacjty, he certifies that he hus
          carefl.dly read the foregoing Commodity Jmisdictron r,equest; and that the cotihmts nflhl'
          request are true and correc:t to tbe best of his knowledge. infonnation and bclitf after
          reasonab!e inquiry into the matters discussed.


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           Attachment J           ?'tiotographs of Ghost Gunner Machine

          Attachment 4            Rendered him~ oiGhosr Gunner Machin~

          Atla-chm~nt 5           Ghost Gunner Schematics

          AUachment 6             G.ho!>t Gunner User instructio~

          Attachmcnt 7            ..\nswers to DS-4076 Commodi'rJ Ju.risdicttt,n (0) Guidance for
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OTHER ATTACHMENTS INCLUDED WITH D8-4076 SUBMISSION:

DD_DS4076.pdf

DD_Attorney_Authorization_Letter_Block_2-l .pdf

[Instant document] DD_Cover_Ltr_Block_6-1.pdf

DD_Certification_Block_l9-l.pdf




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 Data FU,:!s, .22 Electric Data File s. 125 mm BK-14M
                                                             High Exp losiv e Anti -
 Tank '\-Varhcad l\fodei Data File.. 5.56/.223 i\lluzzle Bra
                                                                ke Data Files,
 Spri ngfi eld XD- 40 Tactical Slid e Assembly Dat
                                                       a Files, Sou nd l\.foderator - Slip
 On Dat a File , "Th e Dirt y Diane" Oil Filte r Sile
                                                        ncer AdaJ>ter Data File . 12
 Gau ge t<1, .22 CB Sub ·Cal iber lnse rt Dat a File s,
                                                        Voltlock Elec tron ic Blac k
 Pow der Syst em Data Files, and VZ- 58 Fron t Sigh
                                                          t Data Files
 The data desc ribe d in your subm issio n are Com
                                                     pute r Aide d Desi gn (CA D) data
 files that ,.:an be used ma 1D prin ter to prod uce
                                                     phys ical mod e ls of the asso ciate d
 item .

 A tech nica l revi ew of your com mod ity juris dktio
                                                       n {CJ) requ est has been
 conc lude d by requ isite agen cies of the United ~tate
                                                         s Gov ernm ent. T he find ings of
 thnt tech nica l review are:

The Dep artm en t of State has dete rmin ed that the
                                                       125 mm BK-14M Hig h
Exploshe- Anti -Tan k Warhead l\tiodel Dat a ..rile
                                                          . Sou nd l\1oderator - Slip On
Dat a File., and ''Th e Dirt y Diane" OU Fille r Sile
                                                          ncer Ada pter Dat a File are
not subje•~t to fhe juri sdic tion of the Dep artm ent
                                                            of Stat e. The Depaitm ent of
Com merc e (DO C) advises that thes e items are
                                                     las-,ified as EAR 99. Plea se cons ult
the DOC Offi ce of Exp orter Serv ices at (202 ) .:.n.t:?
                                                         A81 l to satis fy appl icab le
requ irem ents prio r to expo rt.

The Dep rutm ent of Stat e has dete rmined that the
                                                    Volt lock Elec tron ic Blac k
Pow der Syst em Data File s are not subj ect to the
                                                     juri sdic tion of the
                                 Con tinu ed on Page Two

Cod y R . 'Nils on
Defense Distributed
71 1 \V. 32nd Street. Apt. 115
Aus tin, TX 7870 5
crw@defdi1st. org
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  In RcpJy refer to
 DDTC Cases CJ 651- l 3 through 660-13

 Depa rtme nt of State. However export may require autl1
                                                                 otization from the
 Depa rtme nt of Com merc e (DO C) Pleas e cons u It the
                                                            DOC Offic e of Expo rter
 Serv ices at (202 ) 48'2-48 l l to make a Classifo.:alLOn Requ
                                                                est (CCATS) and ~ali~f~
 othe r appl icabl e requ irem ents prior to export.

 The Depa rtme nt of State has detcm1incd that t~e Libe
                                                          rato r Pistol Data Files , .22
 Elec tric ]Dat a Files, S.56 /.223 Muz zle Brak e Data Files
                                                              , Spri ngfie ld XD-4O
 Taet ical Slide Assembly Data Files , 12 Gau ge to .22
                                                           CB Sub-    Cali ber luse rt
 Data Files (except for "rea d me" text fileJ, and VZ-58 Fron
                                                                    t Sigh t Data Files
 are subj c~t to the juris dicti on of lhe Dep artm ent of State
                                                                  in acco rdan ce with
 the Inte rnat iona l Traf fic in Arm s Regulations ( IT
                                                         AR) (22 CFR 120 thro ugh
 130). They are desig nated as technical data undl!r Cate
                                                           gory I(i) of the Unit ed
 State<; Murntions List (USML) pursuant to§ 1~0.10 of the ITAR
                                                                     . A license or
 other apprnva.l 1s required pursuant to the lTAR prior to any
                                                                 export or ten1porary
 import.

Shou ld you not conc ur with this deten nina tion and have
                                                           addit ional facts not
included in the originaJ submission. you may submit a new
                                                                CJ request. If you do
not conc ur with this detem rinat ion and have 110 addit ional
                                                               facts to prese nt, then you
may requ est that this deter mina tion be revie wed hy the
                                                            Depu ty Assi stant Secr etary
of State for Defe nse Trade Cont rols.

Shou ld you require furth er assis tance on this matter.
                                                         pleas e contact Sam Harmon at
(202) 663--28 i I or HarmonSC@state.gov.




                                         SZcite\lk
                                         C. Ed wa.i cJ Pear tree
                                         Dire ctor
                                         Office ot Defense Trad e Controls Policy
Cc: l\1aLthew A. Gold stein
J.()12 14th Stree t, N\V, Suite 620
Was hing ton, DC 2000 5
matthew@goldsteinpllc.com
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 hearing," which are conducted pursuant       unquantifiable variables that potentially       List of Subjects in 21 CFR part 1308
 to the provisions of 5 U.S.C. 556 and        could influence the. distribution and
 557. The CSA sets forth the criteria for                                                       Administrative practice and
                                              administration rates of new molecular
 scheduling a drug or other substance                                                         procedure, Drug traffic control,
                                              entities, the DEA is unable to detennine
 and for removing a drug or substance                                                         Reporting and recordkeeping
                                              the number of entities and small entities       req11irements.
 from the schedules of controlled             which might handle [123I)ioflupa.ne.
 substances. Such actions are exempt                                                            For the reasons set oul above, 21 CFR
 from review by the Office of                    Although the DEA does not have a             part 1308 is p_roposed to be amended to
 Management .ind Budget (0MB)                 reliable basis to estimate the number of        read as follows:
 pursuant to section 3(d)(1) of Executive    affected entities and quantify the
 Order 12866 and the principles               economic impact of this proposed rule,          PART 1308-SCHEOULES OF
 reaffirmed in Executive Order 13563.         a qualitative analysis indicates that, if       CONTROLLED SUBSTANCES
                                              finalized, this rule is likely to result in
Executive Order J'2988                       some cost savings for the healthcare             • 1. The authoritv citation for 21 CFR
    This regulation meets the applicable      industry. The affected entities will            part 1308 continues to read as follows:
standards set fortih in sections S(a) and    continue to meet existing Federal and/             Authority~ 21 U.S.C. 811,. 812, 871(b).
 3(b)(2) of Executiive Order 12988. Civil    or state requir-emento:; applicable to those     unless .otherwise noted.
 J1,1stice Reform to eliminate drafting       who handle radiopharmaceutical                  • 2. In§ 1308.12, revise paragraph (b)(4)
errors and ambiguity, minimize               substances, including licensure,                 to read as follows:
Iitigation, provide a clear legal standard   security, recordkeeping, and reportiQ.g
for affected conduct, and promote            requirements, which in many cases are            § 1308.12   Schedule II.
simplification and burden reduction.         morn stringent than tl1e DEA's                   "                  "       *
                                             requirements. However, the DEA                       (b),. " *
Rxecutive Order 13132                                                                           (4) Coca leaves (9040) and any salt,
                                             estimates cost savings will be realized
    Trus rulemakin,g does not have           from the removal of the administrative,         compound, derivative or preparation of
federalism implications warranting the       civil. and criminal sanctions for those         coca leaves (including cocaine (9041)
application of Executive Order 13132.        entities handling or proposing to handle        and ecgonine (9180) and their salts,
The rule does not have substantial            1
                                             [ 2:iI]ioflupane, in the form of saved          isomers, derivatives and salts of isomers
direct effects on the States, on the         registration fees, and the elimination of       and derivatives), and any salt,
relationship betw1een the Federal            additional physical security,                   compound, derivative, or preparation
Government and the States, or the            record.keeping, and reporting                   thereof which is chemically equival!mt
distribution of power and                    requirements.                                   or identical with. any of these
responsibilities among the various                                                           substances, except that the substances
levels of governm-ent.                          Because of these facts. this rule will       shall not include:
                                             not result in a significant economic              (i) Decocai.nized coca le.aves or
Executive Order 13175                        impact on a substantial number of small         extraction of coca 1eaves, which
  This rule docs uot have tribal             entities.                                       extractions do not contain cocaine or
implications warranting the application                                                      ecgonine; or
of Executive Orde,r 13175. This rule         Unfu:rided Mandates Reform Act of 1995
                                                                                               (ii) [123l]ioflupane.
does not have substantial direct effects        On tha basis of information contained *
on one or more Indian tribes, on the         in the ''Regulatory Flexibility Act"
relationship between the Federal                                                            Dated: May 6. 2015.
                                             section above, the DEA has determined        Michele M. Leonhart,
Government and Indian tribes, or on the      and certifies pursuant to the Unfunded
distribution of power au<l                                                                Administrator.
                                             Mandates Reform Act of 1995 (UMRA),
responsibilities between the Federal         2 U.S.C, 1501 et seq., that this action      [FR Doc. 2015-13455 Piled fi- 2- 15; 8:45 am]
Goverumen1 and Indian tribes.                would not result in any federal mandate BILLING CODE 441<Hl9---P
 Regulatory Flexibi'l ity Act                that may result "in the expe-nditure by
   The Administrator, in accordance          State, local, and tribal governments, in
 with the Regulatory Flexibility Act (5      the aggregate, or by the private sector·, of DEPARTMENT OF STATE
U.S.C. 601-612) (RFA), has reviewed          $100,000,000 or more (adjusted for
                                                                                          22 CFR Parts 120, 123, 125, and 127
this proposed rule and by approving it       inflation) in any one year * * * ."
                                             Therefore, neither a Small Government        [Public Notice 9149]
certifies that it will not have a
significant economic impact on a             Agency Plan nor any other action is          RIN 1400-AO70
substantial m;mber of small entities.        re.quired under provisions of UMRA.
The purpose of this rule is to remove                                                        International Traffic in Arms: Revisions
                                             Paperwork Reduction Act
[123I]ioflupane from the list of schedules                                                   to Definitions of Defense Services,
of the CSA. This action will remove            This action does not impose a new             Technical Data, and Public Domain;
regulatory conlroh; and administrative,      collection of information requirement           Definition of Product of Fundamental
civil, and criminal sanctions applicable     under the Paperwork Reduction Act, 44           Research; Electronic Transmission
to controlled substances for handlers        U.S.C. 3501-3521. This nction would             and Storage of Technical Data; and
and proposed handlers of                     not impose record.keeping or reporting          Related Definitions
pzaJ}ioflupane. Ac(:ordingly, it has the     requirements on State or loc-tl          AGENCY: Department of State.
potential for some economic impact in        governments, individuals, businesses, or
                                                                                      ACTION: Proposed rule.
the fo.rm of cost sa'vings..                 organizations. An agency may not         - -- -- - - -- -- - -
  If finalized, the proposed rule will       conduct or sponsor, and a person is not SUMMARY: As pwt of the President's
affect all persons who would handle, or      required to respond to, a collection of  Export Control Reform (ECR) iniliative,
propose to handle, [1 2 3I]ioflupane. Due    information unless it displays a         the Department of State proposes to
to tho wide variety of unidentifiable and    currently valid 0MB control number.      amend the International Tr.iffic in Arms
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 Regulations (JTAR) to update the                confidentiality is asserted because those     1. Revised Definition of Defense Article
 definitions of "defense article,"               comments and/or transmittal emails
 "defense services,·• "'tedm.ical data,"                                                          The Department proposes to revise
                                                  will be made available for public            the definition o.f "defense article'' to
 "public domain," "export." and                  inspection and copying after the close of
 "reexport or retrai:1sfer'' in order to                                                       clarify the scope of the definition. The
                                                 the comment period via the Dfrectora'.te      current text of§ 120.6 is made into a
 clal'ify the scope oJ activHi es and            of Defense Trade Controls Web site at
  information that rure oovered within                                                         new paragraph (a), into which software
                                                  www.pmddtc.state.gov. Parties who            is added to the list of things that are a
 these definitions and harmonize the             wish to comment anonymously may do
 definitions with the Export                                                                   "defense article" because software is
                                                 so by submitting their comments via           being removed from the definition of
 Administration Re.,g ulations. (EAR), to         www.rcgvlations.gov, leaving the fields      " technical data." This is not a
 thl'! extent approp1fate. Additionally, the     that would identify the commenter             substantive change.
 Department proposes to c,eate                   blank and including n o identifying              A new § 120.6(b) is added Lo list those
 definitions of "required," "technical           information in the comment itself.            items that the Department has
 data that arises du:ring, or results from.      Comments submitted via                        determined should no~ be a "defense
 fundamental research,'' "release,''              www.regulations.gov ate immediately          article," even though they would
 ''re.transfer," and '"activities that are not   available for public inspection.              otherwise meet the definition of
 exports, reexports, or ret:ransfers" in                                                       ''defense article.'' All the items
 order to clarify and support the
                                                 FOR FURTHER INFORMATION CONTACT:      Mr.
                                                 C. Edward Peru-tree, Director, Office of      described were formerly excluded from
 interpretation of the revised definitions                                                     the dcfin.ition of " technical data'' in
 that are proposed jn trus rulemaking.           Defense Trade Controls Policy,
                                                 Department of State, telephone (202)          § 120.10, These items aie declared lo be
 The Department piropose.s to create new                                                       not subject to the TTAR to parallel the
sections detailing the scope of licenses,        663- 1282; email DDTCResponseTeam@
                                                 state.gov. ATTN: ITAR Amendment-              EAR concept of "not subject to the
 unauthorized releatSes of information,                                                        EAR" as part of the effort to harmonize
                                                 Revisions to Definitions; Oata
and the "release" oJ secured                                                                   the ITAR and the EAR. Tlris does not
                                                 Transmission and Storage. The
 information, and r;evises the sections on                                                     constitute a change in policy i;egarding
" exports" of ''technical data'' to U.S.         Department of State's full rettospP.ctive
                                                 plan can be accessed at http://               these items or the scope ofitems that are
 persons abroad. .Finally. the Department                                                      defense articles.
 proposes to address the electronic
                                                 v.rww.state.gov/d ocum eI1ts/ organization/
                                                 181028.pdf.                                    2. Revised Definition of Technical Data
transmission and storage of unclassified
" technical data" viia foreign                   SUPPLEMENTARY INFORMATION:        The             The Department proposes to re,vise
communkations infrastructure. This               Directorate of Defense Trade Controls          the definition of "technical data'' in
rulemak.ing propos:es that the electronic         (DDTC}, U.S. Department of State.             ITAR § 120.10 in order to update and
transmission of unclassified " technical          administers the International Traffic in      clarify the scope of information that
data' ' abroad is not an "export,"               Arms Regulations (IT AR) (22 CFR parts         may be captured within the definition.
provided that the data is sufficiently            120 tru:ough 130). The items subject lo       Paragraph (a)(1) of the revised definition
secured to prevent access by foreign             the juri.sdjt:tion of the ITAR, i.e.,          defines " technical data" as information
persons. Additionally, this proposed             "defense articles" and "defense               ")'equired'' for the "development,"
rule would allow for the electronic              services," are identified on the ITAR' s      " ptodnction," op eration, installation,
storage of unclassilfied ''technical data"       U.S. Mun itions List (USML) (22 CFR           maintenance, repair, overhaul, or
abroad, provided that the data is                121.1). With few exceptions, items llOt       refurbishing of a ·'defense article,"
secured to prevent access by parties             subject to the export control jurisdiction     which harmonizes with the definition of
m1authorized to access snch data. The            of the lTAR arc subject to the                " technology" in the EAR and the
revisions contained in this proposed             jurisdiction of the Export                    Wassenaar Arrangement. This is not a
rule are part qf the Department of State's       Adminisfrati.on Regulations (''EAR,' " 15     change in the scope of the definition,
retrospective plan ·under Executive.             CFR parts 730 through 774, which              and additional words deseribing
Order 13563 first s·ubmitted on Allgust          includes the Commerce Control U st            activities that were in the prior
17,2011.                                         (CCL) in Supplement No. 1 to part 774),       definition are included in parenthelicals
DATES: The Department of State will              adnunistered by the Bureau of lndustry        to assist exporters.
accept comments o•n this proposed rule           and Security (BIS), U.S. Department of           Paragraph (a)(l) also sets forth a
until August 3, 201,5.                           Commerce. Both the 1TAR c;10d the EAR         broader range of examples of formats
                                                 impose license requirements on exports        tliat " technical data" may take, such as
ADDRESSES: Interested parties may
                                                 and reexports. Items not subject to the       iliagrams, models, formulae , tables,
submit comments l-vithin 60 days of the                                                        engineering designs and specifications,
date of publication by one of the                ITAR or lo the exclusive licensing
                                                 jurisdiction of any other set of              computer-aided design nlcs, manuals or
following methods:                                                                             documentation, or electronic media,
    • Email: DDTCPublicComments@                 regulations are subject to the EAR
                                                                                               that may constitute "technical data."
state.gov with the ~:ubject line, "ITAR             BIS is c·oncurrentiy publishing            Additionally, I.be revised definition
Amendment- Revisions to Definitions;             comparable proposed amendments (BIS           includes certain conforming changes
Data Transmission and Storage."                  companion r.nle) to the definitions of        intended to reflect the revised and
   • Internet: At www.regulations.gov,           " technology," "required," "peculiarly        newly added defined terms proposed
search for this noti!: e by using this rule's    responsible," ·'published," results of        elsewhere in this rule.
RIN (HOO-AD70).                                  "fundamental research," ..export,"               The proposed revised definition also
   Comments received after that dale             "reexport.'' "release,'' and "transfer (in-   includes a note clarifying that the
may be considered,. but consideration            country)" in the EAR. A side-by-side          modification of the design of an existing
cannot be assured. Those submitting              comparison on the regulatory text             item creates a new itei;n and that the
comments should not include any                  proposed by both Departments is               "technical dat-a'' for the. modification is
personally identifying information they          available on both agencies' Web sites:        "technical data'' for the new iten1.
do not desire to be made public or               www.pmddtc.s-tate.gov and                       Paragraph (a)(2) of the revised
i nformation for wh:ich a claim of               www.bis.doc.gov.                              definition defines "technical data'' as
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  also including information that is             been an undefined terrn in the 1TAR.                 article that is in "production," and not
  enumerated on the USML. This wi11 be           The word is also used in the controls on             otherwise enumerated on the ITAR. The
  "technical data' · that is positively          technology in both the EAR and the                  fourth release is for information that
  described, as opposed to "technical            Wassenaar Arrangement, as a defined                 was developed with knowledge that it is
  data" described in the standard catch-all      term, which the Department is now                   for both a "defense article" and a non-
  "technical data'' control for all              proposiug to adopt:                                 defense article. The fifth release is
  "technical data" rlirectly related to a                                                            information that was dtweloped for
                                                  . . . [O]nly tl1at portion of ftcchnical data]
  "defense article" described in the               that is peculiarly responsible for-achieving or general purpose commodities.
  relevant category. The Department               exceeding the controlled performance levels,           In the companion rule, BIS proposes
  intends to enumerate certain controlled         chai:acteristics; o.r functions. Such required     to make Note 3 into a stand-alone
  "technical data" a.s it continues to move       [tec,h.n1cal data] ma.y be shared by dilforenl     definition for "peculiarly responsible"
  the USML toward a more positive                 products..                                         as i t has application outside of the
  control list.
     Paragraph (a)(3) of the revised                  The proposed definition of "required" definition of "required." The substance.
                                                  contains three notes, These notes                  of Note 3 and the BIS definition of
  definition defines "technical data" as                                                             "peculiarly responsible" arc identical.
  also including cla1ssified information          explain how the definition is to be
                                                  applied.                                          DDTC asks for conurnmts on the
  that is for tbe "developn1ent,"                                                                    placement of this concept.
  '·production,'' ope,ration, installation.           Note 1 provides that the definition
  maintenance, repair, overhaul, or               explicitly includes information for                4-. Proposed Definitions of Development
  refurbishing of a '' defense article·' or a     meeting not only controlled                        and Pro<luction
 600 series item sulbject to the EAR.             performance levels, but also
                                                                                                         The Department proposes to add
 Paragraph (a)(S) of the revised definition       characteristics and functions. All items
                                                                                                     § 120.47 for the definition of
  defines "technical data'' as also               described on the USML are identified by
                                                                                                     "development" and § 120.48 for tho
  including information to access secured         a characteristic or function.                      definition of " production.'' These
 "technical data" in clear text, such as          Additionally, some descriptions include
                                                  a perfonrtanr;e level. A s an example,
                                                                                                    definitions are currently in Notes 1 and
 decryption keys, passwords, or network                                                             2 to paragraph (h)(3) in§ 120.41, the
 access codes. In support of the latter           USML Category VIII(a)(l) controls
                                                                                                    definition of "specially designed."
 change, the Department also proposes to         -aircraft that are "bombers" and contains Because "technical data" is now
 add a new provisicm to the list of              no performance level. The characteristic defined, in part, as information
 violations in§ 127 .l(b)f4) to state that        of the aircraft that is controlled is that        "required" for the "development" or
 any disclosure of these decryption keys          it is a bomber, and therefore, any
                                                                                                    "production" of a "defense article," and
 or passwords that results in the                "ter.hnical data" peculiar to making an             these words are now used in the
 unauthorized disclosure of the                  aircraft a bomber i.s "required. "                 definition of a "defense service," it is
 "technical data" o;r software see1ired by           Note 2 states that, with the exception         appropriate to define these terms. The
 the encryption key or password is a             of "technical data" specifically                   adoption of these definitions is aJso
violation and will constitute a violation        enumerated on the USML, the                        done for the purpose of harmonization
 to the same extent as the "export" of the       jurisdictional status of unclassified              because these definitions art! also used
 secured information. For example. the           "technkal data" is the same as that of             in the EAR and by the Wassenaar
 "release" of a decryption key may result        the commodity to whfoh it is directly              Arrangement.
in the unauthorized disclosure of                related. Specifically, fl explains that
multiple files containing "technical             "technical data" for a part or component 5. Revised Definition of Public Domain
 data" hosted abroad and could therefore         of a ''defense article" is directly related            The Department proposes lo revise
constitute a violation of the IT AR for          to that part or component, and if the              the defin~tion of ., public domain" in
each piece of "technical data" on that           part or component is subject to the EAR, IT AR§ 12().11 in order to simplify,
server.                                          so is the "technical data."                        update. and introduce greatel' versatility
    Paragraph {bl oftbe revised definltion           Note 3 establishes a test for                  into the definition. The existing version
of "technical data" excludes non-                determining if information is peculiarly of IT AR§ 120.11 relies on an
 proprietary general system descriptions,        responsible for meeting or achieving the enumerated list of circumstances
information on bas:ic function or               controlled performance levels,                      through which "p1,1.blic domain''
purpose of an item, and telemetry data          characteristics or functions of a                  information might be published. The
as defined in Note 3 to USML Category            ''defense article." It uses the same ca!ch- Department believes that this definition
XV(f) (§ 121.1). ltf-uns formerly identified    and-release concept that the Department is unnecessarily limiting in scope and
in this paragraph, principles taught in         implemented in the definition of                   insufficiently flexible with respect to
schools and "public domain"                     ··specially designed." It has a similarly          the continually evolving array of media,
information, have been moved to the             broad catch of aH information used ill or whether physicaJ or electronic. through
new ITAR § 120.6(lb).                           for use in the "development."                      which information may be
    The proposed deJinition removes             ''production," operation, installation,            disseminated.
software from the definition of                 maintenance, repair, overhaul, or                       The proposed definition is intended
''technical data.'' Specific and catch-all      refurbishing of a" defense article." It has to identify the characteristics that are
controls OD software will be added              four releases that mirror the ''specially          common to all of the enumerated forms
elsewhere throughout the ITAR as                deslg11ed" releases, and one reserved              of publication identified in the current
warranted, as it will now be defined as.        paragraph for information that the                 rul~with the exception of fTAR
a separate type of '"defense article.'"         Department determines is generally                 § 120.11(a)(8), which is addressed in a
                                                insignificant The first release is for             new definition for "technical data that
3. Proposed Definiltion of Required
                                                information identified in a commodity              arises during. or results from.
  The Department proposes a definftfon          jurisdiction determination. The second             fundamental research"-and to present
of "required" in a new§ 120.46.                 release is reserved. The third release is          those common characteristics in a
"Required" is used in the definition of         for information that is identical to               streamlined definition that does not
"technical data'' a.nd has, to this pofat       information used in a non-defense                  require enumerated identification
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  within the IT AR of every current or             compliance with the ITAR by clarifying       "technical data that arises during, or
  future qualifying publication scenario.         that " teclmical data" may not be made        results from, fundamental research" is
  Additionally, the proposed definition            available to the public without              consistent with the prior rfAR
  incorporates phral;es such as "generally         authorization. Persons who ~1:itend to       § 120.11(a)(8}, except that the
  accessible" and " without restriction            discuss "technical data'' at a conference    Department has expanded the scope of
  upon its further ditssemination" in order        or trade show, or to publish it, must        eligible research to include research that
  to better align the definition found in         ensure that they obtain the appropriate       is funded, in whole or in part, by tho
  the EAR and more closely aligned ,vith          authorization.                                O.S, government.,
  the definition in the Wassenaar                    Informal.ion thal is excluded from the
  Arrangement control lists.                      definition of "defense article' · in the      7. Revised Definition of Export
    The proposed d,efinition requires that        new § 120.6{b) is not "technical data"         The Department proposes to revise
  information be made available to the            and therefore does not require              the definition of "export" in ITAR
 public with out res:trictions 011 its further    authori7.alion prior to release into the    § 120.17 to better align with the EAR's
  dissemination. An.y information that            "public domain." This includes              revised definition of the term and to
 ·meets this definition is "public                information that arises during or results   remove activities associated with a
 domain." The definition also retains an          from " hmdamental research," as             defense article'.s further movement or
 exemplary list of information that has           described in the new § 120.49; general      release outside the United States, which
 been made ava.ilabile to the pubJic              scientific, mathematical, or engineering    will now fall within the definition of
 without restriction and would be                 principles cDmmonly taught in schools,      "reexport" in § 120.l 9. The definition is
 considered " public domain.;. These              and information that is contained in        revised to explicitly identify that !TAR
 include magazines, periodicals and               patents.                                    §§ 126.16 and 126.17 (exemptions
 other publications available as                     The Department also proposes to add      pursuant to the Australia and UK
 subscrip tions, publications contained in        a new provision to§ 127,1 in paragraph      Defense Trade Cooperation Treaties)
 libraries, informatfon made available at         (a)(6) to state explicitly that the further have their own definitions of "export,"
 a public conference, meeting, seminar,           dissemination of "technical data•· or       which apply exclusively to those
 trade show, or exhibition, and                  software that was made avaiJable to the      exemptions. Et also explicitly references
 information posted on public Web sites.         public without authorization is a           the new§ 120.49, "Activities that are
 The final example deems information              violation oflhe ITAR. if, and only if. it  Not Ex:ports, Reexports, or Rettansfers."
 that is submitted t,o co-authors, editors,       is done with knowledge that the            which excludes from ITAR control
 or reviewers or conference organizers           "technical data" or software was made       certain transactions identified therein.
 for review for publication to be "public         publicly available without an                 Paragraph (a)(l) is revised to parallel
 domain,'' even pri,or to actual                 authorization described in IT AR            the definition of "export" in proposed
 publication. 'The relevant restrictions do      § 1ZO.ll(b)(2). Dissemination of publicly   paragraph (a)(1) of § 734 .13 of the EAR.
 not include copyright P-rotections or           available "teclutlcaJ data" or softwaxe is  Although the wording has changed, the
 generic property rights in the                  not an export-controlled event, and does    scope of the control is the same. The
 underlying pb.ysical medium.                    not roqi1ire authorization from the         provision excepting travel outside of the
    Paragraph (b) of the revised definition      Department, in the absence of               United States by persons whose
 explicitly sets forth the Department's          knowledge that it was made publicly         personaJ knowledge includes "technical
requirement of authorization to release          available without authorization.            data" is removed, but the central
information into the "public domain."                "Technical data" and software that is   concept is unchanged. The "release" of
Prior to making available "technical             made publicly available wilhout proper      ''technical data'' lo a foreign person
data' · or software subject to the lTAR,         authorization remains ''technical data"     while in the United States or while
the U.S. governme;nt must approve the            or software and therefore remains          travelling remains a cont.rolled event.
release through on,e of the following: (1)       subject to the fI'AR. As such, the U.S.        Paragraph (a)(2) includes the control
The Department; (;n the Department of            government may advise a person that        listed in the current§ 120.17(al(4)
Defense's Office of Security Review; (3)         the originaJ release of the "technical      (transfer of technical data to a foreign
a relevant U.S, government contracting           data" or software was unauthorized and      person). Tho proposed revisions replace
authority with authority to allow the            put that person on notice that further      the word "disclosing" with "releasing,''
" technical data" m· software to be made         dissemination would violate th.e IT AR.    and the paragraph is otherwise revised
available to the pulblic, if one exists; or                                                  to parallel proposed paragraph (a)(2} of
(4) another U.S. government official             6. Prnposed Definition of Technical
                                                 Data That A.rises During, or Results       § 734.13 of the EAR. "Release" ls a
with authority to allow the "technical                                                      newly defined concept in § 120.50 that
data" or software to be made available           From, Fundamental Research
                                                                                            encompasses the previously undefined
to the public.                                      The Department proposes to move         term "disclose."
    The requirements of paragraph (b) are        "fundamental research" from the                Parngraph (a)(3) includes the control
not new. Rather, they are a more explicit        definition of "public domain" in rrAR      listed in the current§ 120.17(a)(2)
statement of the IT.AR's requirement             § 120,11(a)(8) and define "technical data (tr-dnsfor of registration, control, or
that one must seek and receive a license         that arises during, or results from,       ownership to a foreign person of an
or other authorizatiion from the-                fundan1ental research" in a new ITAR       aircraft, vessel, or satellite). It is revised
Department or othHr cognizant U.S.               § 120A9. Tbe Department believes that      to parallel proposed paragraph (a)(3) of
government authority to release !TAR             information that arises during, or results §734.13 oftheEAR.
controlled "techni~:al data," as defined         from fundamental xesearch is                   Paragraph (a)(4) includes the control
in§ 120.10. A release of "technical              conceptually distinguishable from the,     listed in the current§ 120,17(a)(3j
data" may occur by disseminating                 information that would be captured in      (transfer in the United States to foreign
" technical data" at a public conference         the revised definition of "public          embassies).
or trade show, pubilishing "teGhnjc:al           domajn" that is proposed in this rule.         Paragraph (a)(S) maintains the control
data" in a bouk or journal article, or           Accordingly, the Department proposes       on performing a "defense sen•ice."
posting "'technical da,t a" to the Internet.     to address this concept with its own           Paragraph (a)(6) is added for the
This proposed provision will enhance             definition. The new definition of          ''release" or transfer of decryption keys,
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   passwords, and other items identified in    foreign person has held citi.7.enship or          space, provide " technic.al data" or
   the now paragraph (a)(S) of tb.e revised    holds permanent -residency.                       solhvare to U.S. persons while in the
   definition of " technical data" in                                                            United States, or move a "defense
   § 120.10. This par.agra ph makes            8. Revised Definition of Reexport
                                                                                                 article" between tl1c stales, possessions,
   "release" or translfer of information            The Department proposes to reviso            and territories of the United States- The
  securing '·technical data' ' an "export."      the definition of "reexport'' in lTi\R
   Making the releas,~ of decryption keys        § 120. l 9 to better align with the EAR's
                                                                                                 Department also proposes to add a new
  and other informal.ion securing                revised definition and describe transfers       provision excluding from ITAR
  technical data in elll inaccessible or         of items subject to the jurisdiction of the     licensing requirements the trnnsmission
  unreadable format. an export allows the        ITAR between two foreign countries.             and storage of encrypted "technical
  Department to propose that providing          The activities identified are the same as        data" and software.
  someone with encrypted "technical             those in paragraphs (a)(l) through (4) of          The Department recognizes that ITAR-
  data" would not be an "export." under         the revised definition of '·export,"             controlled "tecbnicol data" may be
  certain circumstauce s. Provision of a        except that the shipment, release or             electronically routed through foreign
  decryption key or other information           transfer is between two foreign                  servers unbeknownst to the original
  securing "technicnl data'' is an "export"     countries or is to a third country              sender. This presents a risk of
  regardless of whet her the foreign person     national foreign person outside of the          unauthorized access and creates a
  bas already obtained access to the            United States.                                  potential for inadvertent ffAR
  scr:ured "technical <lata.'' Paragraph        9. Proposed Definition of Release                violations. For example, emall
  (a)(6) of the definitions of export and                                                       containing "technicaJ data" may,
  reexport in this rule and the BIS                The Department proposes to add               without the knowledge of the sender,
  companion rule present diffortmL              § 120.50, the definition of "release."
                                                                                                transit a foreign country's internet
  formulations for this r.outrol and lbe        This term is added to harmonize with
                                                the EAR, which has long used the term           service infrastructure en route to its
  agenc:ies request input from the pubUc                                                        intended and authorized final
  on which lan.guago more clearly               to cover activities that disclose
                                                information to foreign persons.                 destination. Any access to this data by
  describes the control. The agencies                                                           a foreign pe1son would constitute an
  intend, however, that the act of              "Release" includes the activities
                                                encompassed within the undefined term           unauthorized "export" under IT AR
  providing physica1 access to unsecured                                                        § 120.J 7. Another example is the use of
  "technical data" (m1bjecl to the IT AR)       "disclose." The activities that are
                                                captured ludude allowing a foreign              mass data storage (i.e., "cloud storage").
 will be a controlled event. The mere act                                                       In this case, "lechnir.al data" intended
  of providing acces:s to unsecured             person to inspect a ''defense article'' in
                                               a way Lhat reveals "technical data" to           to be resident in cloud storage may,
 technology (subject to the EAR) will not.
                                               the foreign persons and oral or written          without the knowledge of the sender, be
 however, be a controlled event unless it
 is done with "knowledge" that such            exchanges of "technical data'' with a            pbysir.ally stored on a server or servers
 provision will cause or permit the            foreign person. The adoption of the              located in a foreign count.ry or multiple
 transfer of controlled " technology" in       definition of "release" does not cbaoge          countries. Al1y access to this data, even
 clear text or "software" to a foreign         the scopu of activities that constitute an       if unintended by the sender, would
 national.                                     "export" and other cootrolled                    constitute an ' 'export" lmder JTAR
    Paragraph (a)(7) is added for the          transactions under t.b.c ITAR.                   §120.17.
 release of information to a public            10. Proposed Definition ofRetransfer                The intent of the proposed IT AR
 network, such as U1e Internet. This                                                           § 120.52(a)(4) is lo clarify that when
                                                   The Depnrunent proposes to add               unclassified "techuical data" transits
 makes more explicit the existing control      § 120.51. tho definition of "retransfer.··
 in (a)(4), which includes the publication                                                     through a foreign country's Internet
                                               "Retransfor" is moved out of the
 of " technical data" to the Internet due                                                      service infrastructure , a license or other
 to its inherent acae,ssibility by foreign     definition of "reexport" in§ 120.19 to          approvnl is not mandated when such
                                              better harmonize with U1e EAR, which
 persons. This means that before posting       controls "exports," "reexports" and             "technical data" is encrypted prior to
 information to the Internet. you should       "transfers (in country)'' as discrete           leaving the sender's facilities and
 determine whether the information is          events. Under this new definition, a            remains encrypted until received by the
 "technical data." You should review the       "retransfer" oc.:curs with a c.:hange of end    intended recipient or retrieved by the
USM!,, and ifthtu·e: is doubt abou t           use or end user within the same foreign         sencler, as in the case of remote storage.
whether the information is "technical          territory. Certain activities may fit           The encryption must be accomplished
data,'' you may 1equest a commodity           within the definition of "reexport" and          in a manner that is certified by the U.S.
jurisdiction determinatio n from the          "retransfer." such as the disclosure of          National l.nstitute for Standards and
Department. If so, a license or other         "techuical data" to a third country              Technology (NIST) as compliant with
authorization , as d,~scribed in              nationaJ abroad. RequAsts for both               the Federal Information Processing
§ 120.11 (b), will generally be required to                                                    Standards Public.:ation 14<>-2 (FIPS 14~
                                              "reexports" and "retransfers" of
post such "technical data" to the             "defense articles" will generally be             2). Additionally , the Department
Internet. Posting "technical data" to the     pror:essed through a General                     proposes that the electronic storage
Internet without a Department or other        Corresponden ce or an exemption.                 abroad of "technical data" that has been
authorization is a violation of lhe JT AR                                                      similarly 1mcrypted would not require
even absent specific knowledge that a         11. Proposed Activities That Are Not             an authorization , so long as it is not
foreign national will read the "technical     Exports, Reexports, or Retransfers               stored in a§ 126.1 country or in the
data."                                            The Department proposes to add               Russian Federation. This will allow for
    Paragraph (b)(l) iis added to clarify     § 120.52 to describe those "activities           cloud storage of encrypted data in
existing LTAR conti:ols to explicitly state   that a:re not oxports, reexports, or             foreign countries, so long as thi:1
thal disclosing " technical data" to a        retransfers" and do not require                  "technical data" remains continuously
foreign person is duemed to be an             authorization from the Department. ll is         encrypted while outside of the United
" export" to all countries in whir:h the      not an "export" to Jaw1ch items into             States.
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12. Revised Exemption for the Export of       rule (the fust rev1sion), r;ee 78 FR 31444,     provision of "technical data" as a
Technical Data foir U.S. Persons Abroad       May 24, 2013. The Department's                  "defense service," because there are
    The Department proposes to revise         evaluation of the written comments and          aJready Jicensing requirements for the
 § 125.4(b){9) to better harmonize            recomrnendalions in response to the             "export" of "technical data." The
controls on the "wlease" of controlled         May 24, 2013 proposed rule (the second         Department confirms that it eliminated
information to U.S. persons abroad and         revision) follows.                             from !he definition of a "defense
 to update the provisions. The most               Parties commenting on the second            service" the act of furnishing "technical
significant upaate is that foreign             revision expressed concern that the            data" lo a foreign person. Such activity
 persons authorized to receive ''technical     definition of "defense service" in             still constitutes an "export" and would
data'' in the United States will be            paragraph (a)(1 J was premised on the          require an ITAR a1,1thorization. New
eligible to receive that. same .. technical    use of "other than public domain               paragraph (a)(l) is concerned with the
data" abroad, when on temporary                information." The observation was              furnish ing of assistance, whereas tl1e
assignment on behalf of their employer.       made that with the intent of removing           "export" of ''technical rlata" alone,
The proposed revisions clarjfy that a          from the definition of a " defense            without the furnishing of assistance, is
person going abroad may use this              service" the. furnishing of assistance         not a " defense service.'' The "cxp01t" of
exemption to "export" " technical data"       using "public domain" information, but          ''technical data" requires an_
                                              not basing the assistance on the use of        authorization (Department of State form
for their own use a,broaiL The proposed       ·'technical data," the Department was
revisions also clarify that the ''technical                                                  DSP-5 or DSP- 85) or the use of an
                                               continuing to require the licensing of        applicable exemption.
data" must be seemed while abroad to
                                              activities akin to those that were based           Commenting parties recommended
prevent unauthori:ied ''release. " It has     on the use of "public domain"
been long-standing Department practice                                                       the definition be revised to explicitly
                                              information. The Department has fully          state that it applies to the furnishing of
to hold U.S. persons responsible for the      revised paragraph (a)(1) to remove the
"release" of "technical data" in their                                                       assistance by U.S. persons, or by foreign
                                              use of the "other than public domain           persons in the United States. The
possession while abroad. However,             in:fonnation'' or ''technical data" from
given the nat1,1re of ·•technical data" and                                                  Depatb:nent partially accepted this
                                              the determination of whether an activity       recommendation. Ifowever, the
the proposed exception froni licensing        is a "defense service." Furthermore, the
for transmission of secured "technical                                                       Department notes that ITAR § 120.1(c)
                                              Department has added a new provision           provides 1hat only U.S. persons and
data," the Department has determined it       declaring that the activities described in
is necessary to implemP..nt an affirmative                                                   foreign governmental entities in the
                                              paragraph (a)(l) are not a "defense            United States may be- g1'anted a license
obligation to secur;e data while abroad.      service" if performed by a U.S. person         or other approvaJ pursuant to the IT AR,
 13. Proposed Scope of License                or foreign person in the United States         and that foreign persons may only
                                              who does not have knowledge of U.S.-           receive a "reexport" or "re-transfer"
   The Department proposes to add             origin "technical data' ' direcU y re-lated
 § 123.28 to clarify the scope of a license, to tho "defense article" that is the
                                                                                             approval or approval for brokering
                                                                                             activities. Therefore, approval for tho
 in the absence of a proviso, and to state    subject of the.assistance or trainfog or       performance of a defense service in the
 that authorizations are granted based on another "defense article" described in
                                                                                             United States by a foreign person must
 the information provided by the              the same USML paragraph prior to               be obtained by a U,S. person, such as an
 applicant. This moans that while             performing the service, A note is added        employer, on behalf of the foreign
providing false information to !he U.S.       to clarify that a person will be deemed        person. Regarding a related
government as part: of the applit.ation       to have knowledge ofTJ.S.-origin               recommendation, the Department also
 process for the ''export," " reexport," or   "technical data" if the person                 notes that the furnishing of a type of
 "re-b:ansfer" of a " defense article" is a   previously participated in the                 assistance described by the definition of
violation of the ITAR. it also may void       "development" of a " defense article"          a ''defense service" is not an activity
the license.                                  described in the same USML paragraph.          within the Departn1ent's jurisdiction
14. Revised Definition of Defense             or accessed (physically or                    when it is provided by a foreign pctson
Service                                      electronically) thal " technical data. " A     outside the United States to anothP-r
                                             note is also added to clarify that those        foreign person outside tbe United Statfls
   Proposed revisions of the "defense        U.S. persons abroad who only received          on a foreign "defense article" using
service'' definiti_on were published on      U.S.-origin "technical data'' as a result       foreign-origin "technical data."
April 13 , 2011, RIN 1400- ACB0 (see         of their activities on behalf of a foreign         111 response to commenting parties,
"International Traffic in Arms               person are not included within the             the Department specified that the
Regulations: Defon:se Services," 76 FR       scope of paragraph (a)(1). A third note        examples it provided for activities that
20590) and May 24, 2013 {see 78 FR           is added to clarify that DDTC-authorized       a.re not "defense services'' are not
31444, RIN 1400--AC80J. In those rules,      foreign person employees in the United         exhaustive. Rather, they are provided to
the Department explained its                 States who provide ' 'defense services"        answer the more frequent questions the
determination that the scope of lbe          on behalf of their U.S. employer are           Department receives on the matter. The
current definition is overly broad,          considered to be included with the U.S.        Department removed these examples
capturing certain forms of assistance or     employer's authorization, and need not         from paragraph (bl and included them
services that no lornger warrant ITAR        be listed on the U.S. employer's               as a note to paragraph (a).
control.                                     technical assistance agreement or                  A commenting party recommended
   The Department. reviewed comments         receive a separate authorization for           that paragraphs (a)(5) and (a)(6),
on that first proposed definition and,       those services. The Department also            regarding the fu.rnishing of assistance in
when the recommended changes added removed llie activities of design,                       1he integration of a spacecraft to a
to the clarity of the regu.lation, the       development, and engineering from              laU11ch vehicle anrl in the launch failure
Depa;tmo..at accepted them. For the          paragraph (a)(1) and moved them to             analysis of a spacecraft or launch
Department 's evalu.a tion of those public paragraph (a)(2).                                vehicle, respectively, be removed, and
comments and recornunendations                   Commenting parties recommended             that those activities be described in the
regarding the April 13, 2011, proposed       revising paragraph (a)(l) to remove tho        USML categories covering spacecraft
              Case
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   and launch vehicles, on the basis thal a      selectively excepting from the '·defense          radio when designing the vehicle. lo
   gcnernl definition should nol have such       services" definition the furnishing of            this instance, paragraph la)(2) would not
  program-specific dauses. As discussed          services using "public domain"                    apply, as this example addresses the
   in the May 13, 2014 interim final rule        information. The Departmenl did so in             manufacture of a " defense artkle,"
   revising USML Category XV (79 FR              paragraph (a)(l), and now excludes                whicb is covered by paragrapb (a)(l). If
   27180), the Department accepted this          those services performed by U.S.                  lhe radio lo be installed in this vehicle
   recommenda tion and revised paragraph         persons who have not previously had               is subject to the EAR, the provision to
   (f) oflJSML Category XV and paragraph         access to any U.S. origin "technical              the manufacturer of information
   (i) of USML Catcg:ory [V accordillgly.        data" on the "defense article" being              regarding the radio is oot within lhe
  The revision includes the                      serviced. Ju contrast. the Department             Oeparlment's licensing jurisdiction. In
  recommenda tion of commenting parties          di d not do so in paragraphs (a)(2) and           an instance of a service entailing the
  to specifically pmvide that the service        (a)(3) and former paragraphs (a)(S) and           integration of an item with a " defense
  must be provided tu a foreign person hi        (a)(6). lo the case of paragraph (a){2), the
  order for it to be a, licensable activity.                                                       article,'' where there would be
                                                 rationale for not doing so is lhat the            modification to aoy of the items. the
      Commenting parties recommende d            activities involved in the developrnent
  Uie Department d,e fine the lcrm "tactical                                                       Department believes such assistance
                                                 of a "defense article," or in integrating         would inherently require the use of
  employment, " so as to clarify what            a " defense article' ' with another item,
  services would be captured by                                                                    "technical data." Therefore, this
                                                 inherenl1y involve the advancement of            exclusion would be unacceptably broad.
  paragrap}1 (a)(3). The Department              the military r.apacity of another cow1try
  determined that employment of a                                                                  However. the Department has accepted
                                                 and therefore constitulc activities over          the recommenda tion to clarify the
  "defense article"' should remain a             which the U.S. government has
  controlled event. due to the nature of                                                           definition and oxclude changes to fit to
                                                significant national securily and foreign          any oftbe items involved in the
  ilems now controlled in lhe revised            policy concerns. To the extent that an
  USML categories. After ECR. those items                                                         .integration activity, provided that such
                                                 activity listed in paragraph (a)(l), such        services do not entail the use of
 that remain "defe.nse articles" are the         as modification or testing, is done in the
 most sensitive and militarily critical                                                           "technical data" directly related to the
                                                " development" of a " defense article,"           "defense article." Upon review, changes
  equipment that have a significant             such activities constitute
 national securily or intelligence                                                                to fit are nol an aspect of integration,
                                                " development " and are with.in the               which is the "engineering analysis
 application. Allovvin,g training and other     scope of paragraph (a)(2). With regard to
 services to foreign. nationals in the                                                            needed to unilA a 'defense ai-ticle' and
                                                paragraph (a)(3), the furnishing of               one or more items," and therefore are
 employment of these "defense articles''        assistance (including training) in the
 without a license would not be                                                                   not captured in paragraph (a)(2). The
                                                employment of a "defense article" is a            modifications of the " defense article·· to
 appropriate. Thernfore, the Department         type of activity that the Department
 removed the word! •·tactical" and                                                                accommodate the fit of the item to be
                                                believes warrants control as a "defense           inti>..graled , wh.icl1 are within the activity
 converted the exi~1ting exemption for          service," due to the inherently mililru·y
 basic operation of a "defense article,''       nature of providing training and other           covered by instaJJation, are only those
 authorized by the U.S. government for                                                           modification s to the "defense article"
                                                services in the employment of a
 "exporl" to the sa:mo recipient, into an       "defense article" (changes to paragraph          that allow the item to be placed in its
 exclusiori from paragraph (a)(3).              (a)(3) are described above). The servicos        predetem1ine d location. Any
     A commenting party recommende d            described in former paragraphs (a)(S)            modifications to the design of a
 the Department address the instance of         and (a)(6) (and now in USMJ, Categories          "defense article" arc beyond the scope
 the iotegra1ion or installation of a           IV(i) and XV(O) are pursuant to Public           of installation. Additionally, while
 " defense article" into an itom, much as       Law 105-261.                                     minor modifications may be made to a
 it adclressed the i111stance of the               A commenti.Ag party recommende d              "defense article" withou t lhe activity
 integration or installation <Jf an item        limiting paragraph (a)(2) to the                 being conlrollcd under (a)(2) as an
into a " defense article." Previously, the     integration ofECCN 9A515 and 600                  integration activity, all modlfications of
Department indicated this would be the         series items into defense articles, saying        defense articles. regardless of
subject of a separale rule, and addressed       that the regulations should focus on            sophisticatio n, are activities controlled
the " export" of such items in a               items subject to the EAR with a military          under (a)(l) if performed by someone
 proposed rule (sec· 76 FR 13928), but         or space focus. The Department's focus           with prior knowledge of U.S.-origin
 upon review the Department accepted           with this provision is in fact the                ''technical data." "Fit'' is defined in
tbis recommenda lion. and revised              "defense article." Items that are to be          ITAR § 120.41: ''The fit of a commodity
paragraph (a)(2), the note to paragraph        integrated with a "defense article,"             is defined by its ability to physically
(a)(2), and the not!! to paragraph (a)         which may not themselves be defense              interface or connect with or become an
accordingly. In addition, the                  articles, may be beyond the authority of         integral part of another commodity"
Department has changed certain                 the Department to regulate. The                  (see, Note 4 to paragraph (b)(3)).
terminology used iin the paragraph;            Department did not accept this                        Commenting parties recommende d
instead of referring to the "transfer-" of     recommendat ion.                                 revising paragraph (a)(2) to provide that
"technical data,' ' the paragraph is               A commenting party recommende d              such assistance described therein would
premised on the ··use" of "technical           limiting the definition ofi.ntcgralion to        be a " defense service" only if U.S.-
dala.'' This change, is consistent with        changes in the function of the "defense          origi11 "technical data" is exported. The
removing from the definitio11 of a             article," and to exclude modifications in        law and regulations do not mandate this
''defense service" the furnishing of           fit. For the purposes of illustration, this      limitation. Section 38 of the Arms
"technical data'' to a foreign person          commenting party used one of the                 Export Control Act provides that the
wben there is not also the furnishing of       examples provided by the Department              President is authorb:ed to control the
assistance related to that ··technical         in the note to paragraph (a)(Z): The             "export'' of defense articles and defensA
data.''                                        manufacturer of the military vehicle             services. The ITAR, in defining ''defense
    A commenting party requested               will need to know the dimensions and             article,'' "technical data," aorl "export,"
clarification of the rationale behind          electrical requirements of the dashboard         does not provide the qualifier " U.S.-
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 origin" (see ITAR §§ 120.6, 120.10, and      furnishing of assistance to a foreign         in organizationa l-level (basic-level)
 120.17. respectivdy). In the instance        person , in the activities described in       maintenance. The Department
 described by thP- commenting party, of       paragraph (a). Therefore, in the context      harmonized paragraph (a)(l) and the
 the integration of a commercial item          of employment with tbe university, the example regarding organir.aUonal-level
  into a foreign-origin "defense article,"     Department does not perceive that the        maintenance by revising the Note to
   the Department rolains jurisdiction         foreign person's use of the "technical       Paragraph (a), which sets forth activities
   when the service is provided by a U.S.      data" would be described by ff AR            that are not "defense services,'· so that
   person.                                     § 120.9(a)(2), or any part of paragraph     it specifically provides that "the
     A c:onunenting party recommende d         (a).                                        furnishing of assistance (including
  revising paragraplh (a)(2) so that the         In response to the recommenda tion of training) in organizationa l-level (basic-
  paragraph (a)(l) exception of the            one commenting party. lhc Department        level) maintenance of a defense article"
  furnishing of assistance using " public      added a note clarifying that the            is an example of an activity that is not
  domain'' informatfon is not nullified by     installation of an item into a " defense    a defense service.
  paragraph (a}(2), as most of the activities  article" is not a "defense service,''           In response to commenting parties.
  described in paragraph (a)(1J involve        provided oo ''technical data" is used in    the Department clarifies that the
  integration as dcfl.ned in the note to       the rendering of the service.               example of employment by a Coreign
  paragraph (a)(Z). The Department               A commenting party recommended            person of a natural U.S. person as not
  believes each of tho activities described   clarification of the licensing process for constituting a "defense service" is
  in paragraphs (a)(l) and (a)(2) arc          the "export" of anF.AR 600 series item     meant to address, among other
  sufficiently well defined to distinguish     that is to be integrated into a " defense  scenarios, the instance whero such a
  them one from tho other. Therefore, the     article." Tho Department of Commerce         person is employed by a foreign defense
  Department docs not agree that              has "export" authority over the 600          manufacturer, but whose employment
  paragraph (a)(Z) nullifies the intention    series item, and the exporter must           in fact does not entail the furnishing of
  of paragraph {a)(1.), and does not accept   obtain a license from the Department of assistance as described in ITAR
  this recommendat ion.                       CornmP.rce, if necessary. The exporter      § 120.9(a). By "natural person," tbe
     A commenLing party requested             must also obtain an approval from the       Department means a human being; as
 clarification that providing an item         Department of State to provide any          may be inferred from the definition of
 subject tu the EAR for tho purposes of       " defense service," including integration "person" provided in ITAR § 120.1,4.
  integration into a '"defense article" is    assistance pursuant to paragraph (a)(2),        In response to the recommenda tion of
  not a " defense service." The prnvision        A commenting party recommende d          a commenting party, the Department
  of the item in this instance,               removing "testing" as a typo of "defense confirms that, as stated in a Department
 unaccompani ed by assistance in the          service,'' stating it was not included in   of Commerce notice, "Technology
 integration of the ·item into a " defense    the definition of "organization al-level    subject to the EAR that is used with
 article," is not within the scope of ''the   maintenance. " 1n including testing as      technical data subject to the IT AR that
 furnishing of assistance," and therefore     part of the former definition but not of    will be used 11ndor the terms of a
 is not a defense service.                    the latter, the Department does not         Technical Assistance Agreement (TAA)
     Commenting parties recommende d          perceive an inconsistency or conflict. To or Manufacturin g License Agreement
 clarification on whether the servicing of    the extent that certain testing is within   (MLA) and that would otherwise require
 an item subject to the EAR that has been     the definition of organization- level       a license from [the Department of
 integrated with a "defense article"          maintenance, that testing is explicitly     Co.mmercel may all be exported under
 would be a "defense service." The           excluded, as organizationa l-level          the T AA or MLA" (see 78 FR 22660). ln
 Department notes that such activity is      maintenance is not covered under the        DDTC publication Guidelines for
 not a " defense service." provides it as    definition of a " defense service."          Preparing Electronic Agreements
 an example of what is not a " defense       However, all other testing remains a         (8.evision 4.2), Section 20.1.d .. the
 service'' in the not'e to paragraph (a),     "defense service:' The Department          following conditions are stip1tlated1 The
 and also notes thall it would be            intends for the furnishing of assistance    technology subject to the EAR will be
 incumbent on the applicant to ensure        to a foreign person, whether in the          used with "technical data" subject to
 that in providing this service, " technical United States or abroad, in the testing of the ITAR and described in the
 data" directly relaied to the " defense     defense articles to be an activity          agreement, and the technology subject
 article" is not used,                       requiring Department approval under         to the EAR will be used under the terms
    Commenting parties expressed             Lhe conditions of paragraph (a)(1). The     of a TAA or MI.I\ (see http:!/
concern over the potential negative          Department did not accept this
effect of paragraph (a)(Z) and the                                                        www.pmddtc .statc.gov/Jicensing/
                                             recommendat ion.                            agreement.html).
definition in general on university-            Commenting parties provided
based educational activities and             recommenda tions for revising Lhe           Request for Comments
scientific communicati on, and               definitions of "public domain''                 The OcpartJncnt invites public
reconunende d clarification of the           information and " technical data." Those comment on any of the proposed
relationship between the definition of       definitions are proposed in this rule as    definitions set forth in this ruJcmaking.
"defense services" and the exemption         well. To the extent that rwaluation of the With respect to tho revisions to ITAR
for the "export" of "technical data" at      proposed changes to "rl11fonse services" § 120.17, the Deparnnenl recognizes the
IT AR§ 125.4(b)(10), Disclosures of          hinges on these terms, the Department       increasingly complex nature of
·'technical data" tci foreign persons who    invites commenting parties to submit        teJccommuni calioos inttastruclure and
are bona-fide and full time regular          analyses of the impact of these revised     the manner in which data is
omployces of univ1ersilies continue to be    definitions on the revised " defense        transmitted, stored, and accessed, and
exports for which 1:TAR § 125.4(b)(10) is    service'' definition in this proposed       accordingly seeks public comment with
ono licensing excniptjon. The                 rule,                                       special emphasis on: {1) How
Department believ1Js that. in most cases.       Commenting parties rAcommended            adequatAly the proposed regulations
the normal duties of a university             clarification of the regulation regarding   address the technical aspects of data
employee do not encompass tho                 the furnishing of assistance and training   transmission and storage: (2) whethP.T
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 the proposed regulations mitigate           Unfunded Mandates Reform Act of                 alternatives and, ifregulation is
unintended or unauthorized access to         1995.                                          necessary, to select regulatory
 transmitted or sto1~cd data; and (3)                                                       approaches that maximize net benefits
 whether the proposed regulations             Small Business Rezulatory Enforcement
                                              Fairness Act of 1996                          (includjng potential economic,
 impose an undue financial or .                                                             environmenta l, public health and safety
compliance burden on the pubhc.                  For purposes of the Small Business         effects, distributed impacts, and equity).
   The public is also asked to comment        Regulatory Enforcement Fairness Ac.t of       The executive orders stress the
 on the effective da.te of the final rule.    1996 (the "Act " ). a major rule is a rule
                                                                                            importance of quantifying botb costs
 Export Control Reform rules that revised     tha t the Administrato r of the 0MB
                                                                                            and benefits, of reducing costs, of
categories of the UJSML and t:reated new      Office of Infol'mation and Regulatory         harmonjzing rules, and of promoting
600 series ECCN have had a sbc-month          Affairs finds has resulted or is Ukely to
                                                                                            flexibility. This proposed rule has been
dclaved effective date to allow for           result in: (1) An annual offect ou the
                                                                                            designated a '·significant regu~atory
exporters to update the classificati?n of     economy of $100,000,000 or more; (2) a
                                                                                            action," although not economically
                                              major increase in costs or prices for
their it.ems. ln general, rules effectmg
export controls have been effective on        consumers, individual industries,
                                                                                            significant. under section 3(f)o'.
                                                                                            Executive Order 12866. Accordmgly,
the date of publication, due to the           federal, state, or local government
                                                                                            the proposed rule has been reviewed by
impact on national security and foreign       agencies, or geographic regions; or (3)
                                                                                            the Office of Management and Budget
policy. As this pro,p osed rule and the       significant adverse effects on
                                                                                            (0MB).
companion propoi1ed rule from the             competition, employment, investment,
Bureau of Industry and Security revise        productivHy, innovation, 01· on the           1::,xecuUve Order 12988
definitions wilhin the ITAR and the           abi1ity of United States-based                 The Department of State has i:cviewed
EAR and do not make any changes lo            enterprises to compete with foreign-         the proposed amendment in light ?f
the USML or CCL, the Department               based enterprises in domestic and            sections 3(a} and 3(b)(Z) ofExecullve
proposes (should the proposed r~le be        foreign markets.                              Order 12988 to eliminate ambiguity,
adopted) a 30-day delayed effective date
                                                The Department docs not believe this       minimize litigation, establish clear legal
                                             rulemaking will have an annual effect         standards, and reduce burden.
to allow exporters to ensure continued
                                             on the economy of Sl00,000,000 or
compUance.                                                                                 Executive Order 13175
                                              more. nor will il result in a major
Regulatory Analy!,is and Notices             increase in costs or prices for                 The Department of Stale has
                                             consumers. individual industries,             determined that this rulemaking will
Administrativ e Procedure Ar.t
                                             federal, stale, or local government           not have tribal impUcations, will not
   The Department of State is of the         agencies, or geographic regions, or have      impose substantial direct compliance
opinion that controll_ing the impor_t an~    significant adverse effects on                costs on Indian tribal governments, and
export of defense a.rt1clcs and servwes 1s   competition, employment, investment ,         will not preempt tribal law.
a foreign affairs fw1ction of tho U.S.       productivity, innovation, or on tho           Accordingly, Exec:utivc Order 13175
government aud th.at rules                   ability of United States-hased                docs not apply to this rulemaking.
implementin g this function arc exempt       enterprises to compete with foreign -
from sections 553 frulemaking) and 554       based enterprises in domestic and             Paperwork Reduction Act
(adjudication s) of the Administrati ve      foreirn market.c;. The proposed means·of        This rule does not impose any new
Procedure Act (AP A). Although the           solvi~1g the issue of data protect.ion arc    reporting or record.keeping requirements
Department is or lbe opinion Lhat this       both familiar lo and extensively used by      subject to the Paperwork Reduction Act,
proposed rule is exempt from the             the affected public in protecting             44 U.S.C. Chapter 35; however, the
rulemaking provisions of Lhe APA, the        sensitive information.                        Department of State seeks public
Department is publlishing Lhis rule with     Executive Orders 12372 and 13132
                                                                                           comment on any unforeseen potential
a 60-day provision for public comment                                                      for increased burden.
and without prejudice to its                  This proposed amendment will not
                                           have substantial direct effects on the          List of Subjects
determination that controlling the
import and export of defense services is   Stales, on the relationship between the         22 CFR 120and 125
a foreign affairs fur1ction.               national government and the States, or
                                           on the distribution of power and                  Arms and munitions. Classified
 Regulatory Flexibility Act                responsibiliti es among the various             information, Exports.
                                           levels of government. Therefore, in             22 CFR 123
   Since the Department is of the
                                           accordance with Executive Order 13132,            Arms and munitions, Exports,
opinion that this propose~ rule is . .     it is determined that this proposed
exempt from the ru.lemaking provisions                                                     Reporting and rccordkoepin g
                                           amendment docs not have suffici1mt
of 5 U.S.C. 553, there is no requirement                                                   requirements .
                                           federalism implications to require
for an analysis under the Regulatory                                                       2 2 CFR Part 1.27
                                           consultations or warrant the preparation
Flexibility Act.
                                           of a federalism summary impact                    Arms and munitions. Exports, Crime,
 Unfunded Mandattis Reform Act of 1995 statement. The regulations                          Law, Penalties, Sei1:ures and forfeitures.
                                           implementin g Executive Order 12372               Accordingly, for thP. reasons set forth
  This proposed amendment does not         regarding intergovernm ental
involve a mandate that will result in tha consultation on Federal                          above. title 22, chapter L subchapter M.
                                                                     programs and          parts 120, 123, 125. and 127 arc
expenditure by Statre, local, and tribal   activities do nol apply to this proposed
goverWTients, in th<~ aggregate, or by the amendment.                                      proposed to be amended as follows:
private sector. o! Sl.?O milli?n ?r more
                                                                                           PART 120-PURPOSE AND
in aoy year and it w1ll not s1gmficantly Executive Orders 12866 and 13563                  DEFINITIONS
or uniquely affect small governments.         Executive Orders 12866 and 13563
Therefore, no actions were deemed          direct agencies lo assess costs and             • 1. The authority citation for part 120
neccssa.ry under tht~ provisions of the    benefits of available regulatory                continues to read as follows:
                 Case
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   Authority: Secs. 2. 38, and 71. Pub. L. 90-         U.S.·origin technical data '' djrectly related to
 629, 90 Stat. 744 (2Z U.S.C. 2752, 2778.                                                                  nation by a U.S. person who has been
                                                       a defense article if the person participated in
 2797}; 22 U.S.C. 27914; 22 U.S.C. 2!\Sla; Pub.        the ,leveloprnent of a defense article
                                                                                                           drafted into sucb forces; or
 L. 105-261 , 1 ic:! Stat.. 192-0; Pub. L. 111-266:                                                           (5) The furnishing of assistance
                                                       desctibeclin the same USML paragraph or
 Section 1261, Pt1b. L. 112-239; .t:::.O. 13637.       accessed (physically or eleclJ'onicaUy)             (including training) to the government
 78 FR 16129.                                          technical data directlyrolated to the defense       of a country listed in§ 126.1 of this
 • 2. Section 120.6 is amended by                      article that is the subject of the assistance,      subchapter in the development,
 designating the clltl'rent text as                    prior to performillg the service.                   production, operation, installation.
 paragraph (a), revlising the first sentence                                                               maintenance, repair, overhaul or
                                                         Note 2 to paragraph (a)(1): U.S. persons          refurbishing of a defense article or a part
 ofnowly designat,~d paragraph (a). and                abroad who only receive U.S,-origin
 adding paragraph (b) to read as follows:              technical data as a result of their activities on
                                                                                                           component, accessory or attachments
                                                       behali of a foreign person are not included         specially designed for a defense article.
 § 120.6   Defense article.                            within paragraph (a)(l).                              Note to paragraph (a): The following arc
   (a) Defense article means any item,                                                                   examples of activities that are nol defense
 software, or technical data designated i.11              Note 3 to pa_ragraph (aJ(t): Foreign person   services:
 § 121.1 of this subchapter. * * *                     employees in the lTnited States providing           1. The furni.~hing of assistance (including
   (bl The following are nol defense                   defense services as part of Directorate of       traio io.g} in orgaoizational· Jevel (basic· level)
 articles and thus 111ot subject to the                Dcfen.~o Trade Conlrols--authorized              maintenance (see § 120.38} of a defense
                                                       employment need not be listed on the U.S.        articl e;
 ITAR:                                                 employer's technical assistru1ce agreement or       2. Performance of .~erviccs by a U.S. person
   (1) [Reserved]                                      receive separate authorization to purform        in the employment of a foreign person,
   (2} (Reserved]                                      defense services on behalf of their authorized   except as provided in this paragraph:
   (3) Information ,md software that:                  l/.S. employer.                                     3. Servicing of an item subject to the EAR
   (i) Are in the public domain, as                        (2) The furnishing of assistance             (see§ 120.42) that has been integrated or
described in §120.11;                                  (including training) to a foreign person         install eel into a defe nse article, or the
   (ii) Arise during, or result from,                                                                   serviC:il'\g of an item subject to tho EAR into
                                                       (see§ 120.16), whether in the United             which a defense article has been installed or
fundamental research, as described in                  States or abroad, in Lhe development of integrated, without the use oftech11ical data ,
§ 120.46;                                              a defense article, or the integi:ation of a     except as described in paragr.iph (al(5) of this
   (Ui) Concern general scientific,                    defense article with any other item             section:
mathematical, or engineering principles                regardless of whether that item is                  4. Th e installation of any item into a
commonly taughl .in schools, and                       Sllbject lo the ITAR or technical data is        defense article, or the inst allation of a
released by instruction in a calalog                   used;                                            defense article into any item;
course or associate:d teaching laboratory                                                                  5. Providing law enforcement, physical
of an academic institution; or                            Note to paragraph (a}(2J: ''Integration"     security, or personal protective services
                                                       means any euginr.ering analysis (see            (including trainiog and advice} to or for a
   (iv) Appea; in patents or open
                                                       § 125.4(c)(S) of this subchapter) needed to     foreign person (if such services necessitate
(published) patent applications                        unite a defense article and one or more items. the export of a defense article a license or
available from or at any patent office,                Integration includes lhe introduction of        other approval is required for the export of
unless covered by an invention secrecy                software to enable operation of a defense        the defense article, an d such services that
order.                                                article, and the determit1ati o11 during the     entail the employment or training in the
   Note lo paragraph {b): lnfotmalioo that is         design process o( where an item will be          employment of a defense ar1icle are
not wilhin the scopo of the defiilil ion of           installed (e.g.. integration of a civil engine   addressee! i.n paragraph (a)(3) of this section);
technical data (see§ 120.10) and nol directly         into a destroyer that requires changes or           6, Tha furnishing of a~sistance by a foreign
related to a defense article. or olhorwise
                                                      modifications to lhe destroyer in order for the persou not in the United States:
                                                      civil engine to operate properly; not plug and      7. The furnishing of medical, logistical
described on the lJSML. is not subject to the
                                                      play}. In tegration is distinct from             (other than maintenance). translatfon,
!TAR.
                                                      "installation." Installation means the ac1 of   financial. legal. scheduling, or administrative
• 3. Section 120.9 is revised to read as              putting an item in its predetermined plat:e      services:
follows:                                              w ithout th.e use of technical data or any          8, The furnishing of assistance by a foreign
                                                      modifications 10 the defense article involved, government to a foreign person in the United
§ 120.9  Defense service.                             other than to accommodate the fit of the item States. pursuant to III) arrangement with the
   (a) Defense service means:                         with the defonse article (e.g .. installing a   Department of Defense: and
                                                      dashboard radio into a military vehicle where       9. Tho instruction tn general scienti fie,
   (1) The furnishimg of assistance
                                                      no rnodlficalions (other than to accommodate mathematkaJ, or enginecring,pri ucip le.s
(including training) to a foreign person              the fit of Lho Hem) are made to the vehicle,    commonly taught in schools, colleges, and
(see§ 120.16), whether in the United                  and there is no use of technical data. ). The   universities.
States or abroad. in the production,                  " fit" of an item is defined by its ability to      (b) [Reserved)
assembly, testing, intermediate- or                   physically interface or connect with o.r
depot-level mainte:nance (see§ 120.38).               become an integral part of another item. (see   •   4 . Section 120.10 is revised to read as
modification , demilitarizat ion,                     § 120.,uJ.                                      follows;
destruction, or processing of a defense                  (3) The furnishing of assistance       §120.10 Technical data.
article (see§ 120.6). by a U.S. person or             (including training) to a foreign person     (a) Technical data means, except as
foreign person in the United States, who              (see §120.16), regardless ofwbethcr       set forth in paragraph (b) of this section:
has knowledge ofll.S.-origin technical                lechn.ical data is used, whether in the      (1) Lnformation required for the
data directly related to t,he defense                 United States o r abroad, in lhe          development (see§ 120.47) (including
article that is the subfect of tho                    employment of a defense article, other    desigJl. modification, and integration
assistance, prior to performing the                   than basic operation of a defense article design), production (see§ 120.48)
service;                                              authorized by the U.S. government for     {including manufacture, assembly, and
  Note 1 to paragraplil (a)(l): "Knowledge of         export to the same recjpient;             integration), operation, installation.
U.S.-origin technical data" for purposes of             l4} Participating in or directing       maintenance, repair, overhaul. or
paragraph (a)(l) can b e established based on         combat operations for a foreign person    refurbishing of a defense article.
all the facts and circumstances. However, a           (see§ 120.16), excepl as a member of the Technical dala may be in any tangible
person is deemed to h.ave " knowledge of              regular military forces of a foreign      or intangible form. such as written or
               Case
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oral communications, blueprints,                  (5) Submission of a written                 agency or subdivision of a foreign
drawings, photogr:a.phs, plans, diagrams,      composition, manuscript or                     government, such as a diJ?lomatic
models, formulae, tables, engineering          presentation to domestic or foreign co-        mission, in the United States;
designs and spedficallons, computer-           authors, editors, or reviowers of                (5) P11rforming a defense service on
aided design files, manuals or                 journali;, magazines, newspapers or            behalf of. or for the benefit of, a foreign
documentation, el,ectronic media or            trade publications, or to organizers of          pers011, whether in the l)nited States
information gleamid through visual             open conferences or other open                 or abroad;
inspection;                                    gatherings, with the intention that the          (9) Releasing or otherwise transferring
  Note to paragraph (a)(l}: The modification   compositions, manuscripts, or                  information, such as decryption keys,
of an existing item c reates a new item and    publications will be made publicly             network access r.odes, passwords, or
technical data for lhe modification is         available if accepted for publication or      software, or providing physical access,
technical data for Urn development of the      presentation.                                  lhat would allow access to other
new item.                                         (b) TedinicaJ data or software,            technical data in clear text or software
  (2) Information onumerated on the            whether or not developed with                 to a foreign person regardless of whether
USML (i.e., not coi::itrolled pUI'suant to a   government funding, is nol in the public      such data has beeu or will be
catch-aU USML piuagraph};                      domain if it has been made available to       transJerred; or
  (3) Classified information for the           the public without authorizati.ox1 from:         (7) Mak.ing technical data available
development, production, operation,               (1) The Directorate of Defense Trade       via a publicly available network (e.g.,
installation, maint,enance, repair,            Controls;                                     the Internet).
overhaul. or refurbishing of a defense           (2) The Dopartment of Defense's                (b) Any release in the United States of
article or a 600 ser:ies item subject to the   Office of Security Review;                    technicaJ data or software to a foreign
EAR;                                             {3) The relevant U,S. government            person is a deemed export to all
  (.;i) Information covered by an              contracting entity with authority to          countri'es in which the foreign person
invention secrecy order; or                    allow the technical data or software to       has h.eld citizenship or hulds permanent
   (5) Information, .such as decryption        be made available to, the public; or          residency.                        ·
keys, network acce,ss codes, or                  (4) Another U.S. government official        • 7. Section 120.19 is r-evised to read as
pas.swords, that would allow access to         with authority to allow lhe technical         follows;
other tcc:hnical data in clear text or         data or software to be made available to      §120.19   Reexport.
software (see§ 127 .1fb)(4) of this            the public.
suhchapter).                                                                                    {a) Except as set forth in § 120.52,
                                               Note 1 to §120.11: Section 127.1(a)(6) of     reexrort means:
   (b) Technical data does not include:      this subchapter prohibits, without written          (1 An actual shipment or
   (1) Non-propriot:ary genera] system       authorization from the Directorate of Defense transmission of a defense article from
descriptions;                               Trade Controls. U.S. and foreign perso11s
   (2) Information on basic function or     frum exporting, reexporting, rctransfering, or    one foreign country to another foreign
p-lll'pose of an item; or                    otherwise makin.g available to the public        country, including the sending or taking
   (3) Telemetry data as defined in note    technical data or software if such persou has    of a defense article to or from such
3 to USML Category XV(f) (see § 121.1       knowledge that the technical data or software countries in any manner;
of this subchapter).                        was made publicly availal,le without ao              (2) Releasing or othenvise transferring
                                            authorization described in paragraph (b) of      technical data or software.to a foreign
• 5. Section 120.11 is revised to read as
                                            this section.                                    person of a country other than the
follows:
                                                                                              foreign country wh.ere the release or
                                               Note 2 to §120.11: An export, reexport, o,:
§120.11 Publicdonnain.
                                            retransfer of technical data or software tliat
                                                                                             transfer  takes place (a "deemed
   (a) Except as set forth in paragraph (b) was made publicly available by another           reexport");
of this section, unclassified information person without authorization is not a                 (3} Traosfex:ring by a peJ"son outside of
and software are in the public domain,      violation of this subcbapter, except as          the United States ofregistration. control,
and are thus not technical data or          described in §127,l(a)l6) of this snbchapte.r.   or ownership of any aircraft, vessel. o:r
software subject to the ITAR, when they • &. Section 120.17 is revised to read as            satellite SQbject to the ITAR to a foreign
have been made available to the public      follows:                                         person outside the United States; or
without restrictions upon their further                                                         (4) Releasing or otJierwise transferring
dissemination such as through any of        §120.17 Export.                                  outside of the United States
the following;                                 (a) Except as set forth in§ 120.52,           information, snch as decryption keys,
   (1) Subscriptions: available without     § 126.16, or§ 126.17 of this subchapter,         network access codes, password, or
restriction to any individual who           eJrport means:                                   software,   or p1'oviding physical access,
desires to obtain or purcha.~e the             (1) An actual shipment or                     that would allow access to other
published information;                      tJ:ansmission ou.t of the United States,         tech_oical data in clear text or software.
   (2) Librm·ies or ollher pubHc            including the sending or taking of a             to a foreign per~on regardless of whether
collections that are open and available     defense article outside of the United            such data ha.s been or will be
to the public, and from which the public States in any manner;                               transferred.
can obtain tangible or intangible              (2) Releasing or otherwise transferrino          (b) [Reserved)
                                                                                           0
documents:                                  technical data or software (source code          §120.41 {Amendecl]
   (3) Unlimited dis;tributiou at a         or object code) to a foreign person in the • 8. Section 120.41 is amended by
conference, meetin:g, selll.inar, trade     United States (a "deemed exporl");               reserving Note 1 to paragraph (b)(3) and
show, or exhibitioIJt, generally accessible    (3) Transferring by a person. in the          Note 2 to paragraph (b)(3).
to the interested pu1blic;                  United States of registration, control, or • 9. Section 120.46 is added to read as
  (4) Public dissemination (i.e.,           ow-nership of any aircraft, vessel, or           follows:
unlimited distribution) in any form (e,g,, satellite subject to the ITAR to a foreign
not necessarily in published form).            person;                                      § 120.46   Required.
including posting on the Internet on             (4) Releasing or otherwise transferring      (a) As applied to technical data, lhc
sites available to the public.; or             a defense article to an embassy or to any    term required refers to only that portion
                 Case
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 of technical data that is peculiarly                  5. lt was or is being developed for use in       maintain such technical data as restricted or
 responsible for aclhieving or exceeding             or with general purpose commodities or             proprietary, the technical data becomes
 tho controlled performance levels,                  software (i.e. , with no knowledge that it         subjocl to the IT AR.
 charocteri.stics, or functions. Such                would be for use in <>r with n parti1..1Jlar
                                                     commodity).                                  (b) Prepublicatio n review. Technical
 required technical data may be shared                                                          data that arises during, or results from,
 by different produ els.                               (b) [Reserved!
                                                                                               fundamental research is intended to be
    Note 1 to paragraph (a): The references to      • 10. Section 120.47 is added to read as    published to the extent that the
 ''charactedstic s" and fu.nctions'' a1'll not      follows:                                    researchers are free to publish the
 limited to entries on the USML that use                                                       technical data contained in the research
                                                    § 120.47 Development.
 specific technical -parameters to describe the                                                without any restriction or delay,
 scope of what is con trolled. The                     Development is related to all stages
 "characteristic s" W1d "functions" of an item      prior to serial production, such as:       including U.S. government-i mposed
 listed are, absent a s1oecific: regulatory         design, design research, design analyses, access and disseminatio n controls or
 definition, a standard d ictionary's definition    design concepts, assembly an d testing of research sponsor proprietary
 of tlrn i tem. For oxample, USML Category          prototypes, pilot production schemes,      information review.
 V!Il(a)(l) controls aircraft that a.re "bombers.'' design data,
                                                                  process of transforming         Note 1 to paragraph (b): Although
 No performance levE•I is identified in the                                                    lechoical data arising during or resulting
 entry, but the characteristic of the oorcraft
                                                    design data into a product,
                                                                                               from fundamental research is not considered
 that is controlled is that it is a bombor. Thus. configuration design, integration design, "intended to be published" ifresearcbers
 any technical data, r,agardless of significance,   and  layouts. Development    includes      accept restrictions on its publiGation, suc}:i
 peculiar to making an aircraft a bomber as         modification of the design of an ex.isling technical  data will nonetheless qualify as
 opposud lo. for example, an aircraft               item.                                      tccho.lcal data arising during or resulting
 controlled under ECCN 9A610.a or ECCN              • 11. Section 120.48 is added to read as   from fundamental research once all such
 9A991.a, would be tnchnical data required          follows:                                   restrictions have expired or have boon
 for a bomber and thu.s controlled under                                                                removed.
 USMl. Category VIU(i).                              § 120.48 Production.
                                                       Prodaction means all production                    Note 2 to p ar<tgrapb (b): ResP.arcb that is
   Note 2 to p aragraph (a): The ITAR and the       stages, such as product engineering,               voluntarily subjected to U.S. government
EAR often divide within each set of                 manufacture, integration, assembly                 prepublir.alion review is considered intended
 regulations or betwe,~o each set of                                                                   to be published for all releases coMistenl
regulations:
                                                    (mounting), inspection, testing, and
                                                                                                       with auy resulting co11 trols.
   t . Controls on parts, components,               quality assu rance , This includes "serial
accessories, attachmtmts, anti software; and        production" where commodities have                   Note 3 to paragraph (b): Technical data
   2 . Controls on the ,md items, systmns,          passed production readiness testing                resuhjng from U.S. government funded
equipment, or other items into which those          (i.e., an approved, standardized design            research which is subject to government·
parts, components, a,eccssories, attachments.       ready for large scale production) and              imposed access and dissemination or other
and software are to be installed or                 have been or are being produ ced on an             specific national security controls qualifies as
incorporated.                                       assembly line for multiple commodities             technical data resulting from fundamental
   With the exceptioc, of technical data                                                               research. provided that all government-
                                                    using the approved, standardized                   imposed national security controls have been
specifically enumerated on the USML. the
jurisdictional status of unclassified toclmical
                                                    design.                                            satisfied.
data is the same as the jurisdictional status       • 12. Section 120.49 is added to read as
                                                    follows:                                               {c) Fundamental research definition.
of the defon.se artit:le or item subject to the                                                         Fundamental research means basic or
EAR to which it is directly related. Thus, if       § 120.49 Technical data that arises during,
technology is clirecUy rf'lated to the                                                                  applied research in science and
                                                    or results from, fundamental research .             engineering, the results of which
production ofan ECC:N 9A610.x aircraft
component that is to be integrated or                   (a) Technical Data arising during, or           ordinarily are published and shared
installed in a USML Category VIll(a) aircraft,      resulting from. fundamental reseal'ch.              broadly within the scientific
the techncilogy is coo b:olled untlar EGCN          Unclassified information that arises                comm,mity. This is dis tinguished from
9£610, not USML Cet·egory Vlll(i).                  during, or results from , fundamental               proprietary rescarr.h and from industrial
                                                    research and is intended to be published            development . design, production, and
    Note 3 to paragraph (a): Technical data is      is not technical data whoo the research             product utilization, the results of which
·' peculiarly responsible for achieving or
cxceHding the control.led performance levels,
                                                    is:                                                 ordinarily are restricted for proprietary
                                                        (1) Conducted in the United States at           or national security reasons.
charnctcrislfcs , or fon1ctions" if it is used in
or for use in the development (including            an accredited institu tion of higher                  (1) Basic research means experimental
design, modification, and integration design).      learning located; or                                or theoretical work undertaken
production (including manufacture,                     (2) Funded, in whole or in part, by the          principally to acquire new knowledge of
assembly, a.n d integr~1tiun), operation.           U.S. government.                                    the fundamental principles of
instal lation, rnaintenauce, repair, overhaul,         Note 1 lo paragraph (a): The i.npu ls ustid      phenomena or observable facts, not
or refurbishing nf a tlefense artic:lc unless:      lo cond uct fundamen tal resea.l'ch. such as       primarily directed towards a specific
    1. The Department of State has determined       information. equipment, or softwarn. are oat       practical aim or objective.
otherwise in a com.mc>dity jurisdiction             ·'technical data that arises during or results        (2) Applied research means tho effort
determination;                                      from fumfomenlal research'' except to thl'!
    z. [Reserved):
                                                                                                        that:
                                                    extent that snch inputs are t.ecbnical data lhat      (i) Normally follows basic research.
   3. Il ls identical to Lnformation used in or     n.rose during or resulted from earlier
with a commodity or software that:                                                                     but may not be severable from the
                                                    fundamental rosearr.h,
   i. ls or was in production (i.e., not in                                                            related basic research;
development); and                                     Note 2 to paragraph (a): There are                  (ii) Attempts to determine and exploit
   ii. Is not a defense article;                    instances in the conduct of research, whctl1er     the potential of scientific discoveries or
   4. II was or-is being doveloped with             fundamen tal , basic, or applied, where a          improvemen ts in lechnology, materials,
knowledge Lhat it is for or would be for- use       researcher, iustitutim1, or company rnay           processes. methods, devices, or
in or with both dcfenlle a:rticles and              decide to restrict or protect the release or       techniques; and
commoclities not on the U.S. Munitions List:        publication of technical data contained in            (iij) Attempts to advance the state of
or                                                  research results. One~ a decision is made to       the art.
                Case
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 a 13. Section 120.50 is added to read as          protection of data between an originator          (e) Unless limited by a condition set
 follows:                                          and an intended recipient, including            out in an agreement. the export,
 § 120.50   Release.
                                                   between an individual and himself or            reexport, rotransfcr, or temporary import
                                                   herself. Il involves encrypting data by         autborfaed by a l'icense is for the ilem(s),
   la) Ex<.:ept as set forth in § 120.52 ,     the originating party and keeping that              end-use(s), and parties described in the
technical data and software are released       data encrypted except by the intended               agreement, license, aod any letters of
through:                                       recipient, where the means to ac<.:ess the          explanation. DDTC approves agreements
   (1) Visual or other inspection by           data LO unencrypted form is not given to
foreign persons of a defense article !hat                                                          and grants licenses in reliance on
                                               any third party, induding to any                    representatio ns the applicant made in or
reveals technical data or software to a        fnternet service provider, application
foreign person; or                                                                                 submitted in connection with the
                                               service provider or cloud service                   agreement, letters of explanation. and
   (2) Oral or writton exchanges with          provider.
foreign persons of technical data in the                                                           other documents submitted.
                                                 (c) The ubility to access technical data
United Slates or abroad .                      or soft.ware in encrypted form that                 PART 125-LICENS ES FOR THE
   (bl [Reserved]                              satisfies the criteria set forth in                 EXPORT OF TECHNICAL DATA ANO
11 14. Section 120.!11 is added lo read as     paragraph (a)(4) of this section does not           CLASSIFIED DEFENSE ARTICLES
follows:                                       constitute the release or export of such
                                               technical data or software.                         • 20. The authority citation for part 125
§ 120.51    Retransfe1r.                                                                           continues to read as follows:
  Except as sel forth in§ 120.52 of this         Note to §120.52: See§ 127. t of. this
                                               subchapter for probibitious on the release or         Authority! Secs. 2 aod 38, 90. 90 Stal. 744
subchapter, a retra-nsfe-r is a change in                                                          (22 U.S.C. 2752. 2778): 22 U.S.C. 2651a; E.O.
                                               transfer of technical data or software, in anv
end use or end user of a defense article       form, to any person with knowledge that a -         13637, 78 FR 16129.
within the same foreign country.               violation will occur.                               • 21. Section 125.4 is amended by
• 15. Section 120.s2 is added to read as                                                           revising paragraph (b)(9) to read as
follows:                                                                                           follows:
                                               PART 123-LICENS ES FOR THE
§ 120.52 Activities 'that are not exports,     EXPORT AND TEMPORARY IMPORT                         § 125.4 Exemptions of general
reexports, or retram;fers.                     OF DEFENSE ARTICLES                                 applicability.
    (a) The following activities are not       • 16. The authority citation for part 123           ..            *    *     •
 exports, reexpmts, or retransfcrs:            continues to read as follows:                            (b) * .. ~
    (1) Launching a :spacecraft, launch                                                                 (9) Technical data, including
 vehicle, payload, or other item into            Authority: Secs. 2, 38, and 71., !:JO, 90 Stat.
                                               744 (22     u.s.c.
                                                               2752. 2778, 2797): 22  u.s.c.    classified information, regardJcss of
 space:                                                                                         media or format, exported by or to a
                                               2753; 22 U.S.C. 2651a; 22 lJ.S.C. 2776; Pub.
    (2) While in the United States,                                                             U.S. person or a foreign person
                                               L.1.05- 261 , 112 Stat. 1920: Soc. 1205(a), Pub.
 releasing technical data or software to a     L. 107- 228: Section 1261, Pu b. L. 112-239:     employee of a U.S. person, u·avelling or
 U.S. person;                                  E.O. 13637, 78 FR 16129.                         on temporary assignment abroad subject
    (3) Shipping, moving, or transferring                                                      to the following restrictions:
                                               • 17. Section 123.28 is added to read as
 defense articles bet.ween or among the         follows:                                           (i) Foreign persons may only export or
 United Slates, the District of Columbia,                                                      receive suc-.h technical data as they arc
 the Commonwea lth of Puerto Rico, the         § 123.28 Scope of a license.                    authori?.ed to rncoi ve through a separate
 Commonwea lth of the Northern Mariana            Unless limited by a condition set out        license or other approval.
 Islands or any territory, dependency, or       in a license, tho export, reexport,               (ii) The technical data exported under
 possession of the t Jnited States as listed    retransfer, or temporary import                this authorization is to he possessed or
 in Schedule C, Classification Codes and       authorized by a license is for the item(s), used solely by a U.S. person or
 Descriptions for U.S. Export Statistics,      end-use(s), and parties described in the        authorized foreign person and sufficient
 issucdby the Buroau of the Census; and        license application and any letters of          security precautions must be taken lo
    (4) Sending, takiing, or storing           explanation. DDTC grants licenses in            prevent the unauthorized release of the
technical data or software that is:            reliance on representatio ns the                technology. Such security precautions
   (i) Unclassified;                           applicant made in or submitted in               include encryption of the technical data.
   (ii) Secured usin;g end-to-end              connection with the license. application, the use of secure network connections.
 encryption;                                   letters of explanation, and other               such as virtual private networks. the use
   (iii) SecuTed using cryptographi c          documents submitted.                            of passwords or other access restrictions
modules (h ardwaro or software)                                                                on the electronic device or media on
compliant with the Federal Information         PART 124-AGREE MENTS, OFF-                      which the technical data is stored, and
Processing Standards Publication 140-2         SHORE PROCUREMENT, AND OTHER                    the use of firewalls and other network
(FIPS 140-2) or ils successors,                DEFENSE SERVICES                                security measures lo prevent
supplemente d by s,oftware                     • 18. The authority citation for part 124       unauthorized access.
implementati on. cryptographi c key            continues to read as follows:                      (iii) The U.S. person is an employee
management and other procedures aod                                                            of the U.S. government or is directly
controls that are in accordance with              Authority: Secs. 2, 38, and 71, 90, 90 Stat.
                                               744 [22 u.s.c. 275 2, 27711. 2797 ); 22 u.s,c.  employed by a U.S. person and not by
guidance p.rovirled J..n current U.S.          2651a; 22 U.S.C. 2776; Section 1514_, Pul,. L.  a foreign subsidiary.
National Institute for Standards and           105-261; Pub. L. 111-266; Section 1261, Pub.       (iv) Technical data authorized under
Technology publications; and                   L. 112-239; 1::.0. 13637, 78 FR 16129.          this exception may not be used for
   (iv) Not stored in a country proscribed     • 19. Section 124.1 is amended by               foreign production purposes or for
in § 126. l of this su.bchapter or the         adding paragraph (e) to read as follows:        defense services unless autl1orizcd
Russian Federalion.                                                                                through a license or other approval.
   (b) For purposes of this section. end-      § 124.1 Manufacturing license agreements              (v) The U.S. employer of foreign
to-end encryption means the provision          and technical assistance agreements.
of uninterrupte d cryptographi c               *       *                 ..                        persons must document the use of this
                                                                                                   exemption by fornign person employees,
              Case
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including the-reason that the technical        DEPARTMENT OF HOUSING AND                      instnictions provided on that site to
data is needed by the foreign person for       URBAN DEVELOPMENT                              submit comments electronically.
their temporary business activities
aLroad on behalf of the U.S. person.               24 CFR Parts 91 and 576                      Submission af Hard Copy Comments.
                                                                                              Comments may be submitted by mail or
   (vi) Classified information is sent or         [Docket No. FR-6474--N-02]                  band delivery. To ensure Lhat the
taken outside the United States in                RIN 2506-AC29                               information is fully considered by all of
accordance with the requirements of the                                                       the reviewers, each commenter
Department of Defense National                    Emergency Solutions Grants (ESG)            submitting bard copy comments, by
Industrial Security Program Operating             Program, Solicitation of Comment on         mail or band delivery, should submit
Manual (unless such req1.1i.rements are            Specific Issues                            comments or requests to the address
in direct conflict with guidance                                                              above, addressed to the attention of the
                                                  AGENCY: Office of the Assistant
provided by the Directorate of Defense                                                       Rcgulatious Division. Due to security
                                                  Secretary for Community Planning and
Trade Controls, in which case such                Development, HUD.                          measures at all feder-al agencies,
g1.1idance must be followed) .                                                               submission     of comments or requests by
                                                  ACTION: Regulatory review: request for
  *        *     "                                comments.                                  mail often result in delayed deli very. To
                                                                                             ensure timely receipt of comments,
  PART 127- VIOLAmONS AND                         SUMMARY: On December 5, 2011, .HUD         HUD recommends that any comments
  PENALTIES                                       published an inLerim rule entitled         submitted by mail be submitted at least
                                                  "Homeless Emergency Assistance and         2 weeks in advance of lbe public
 • 22. The authority citation for part 127        Rapid Transition to Housing: Emergency comment deadline. All hard copy
  continues Lo read as follows:                   Solutions Grants Program and               comments received by mail or hand
    Autholity: Sections 2, 38, aud 42. 90, 90     Consolidated Plan Conforming               delivery are a part of the public record
 Stat. 74 4 (22 U.S.C. 2'. 752, 2778, 2791); 22   Amendments" (interim rule). The            and will be posted to http;//
 U.S.C. 401; 22 U.S.C. 2651a; 22 U .S.C. 277.9a; comment period for the interim rule         www.reguJations.gov without change.
 2 2 U.S .C, 2780; E.O. 13637, 78 FR 16129,       ended on February 3, 2012. Because
                                                  recipients and subrecipients have now         Note : To receive constderation as public
 • 23 . Section 127.J is amended by               had more experience implementing the       comments, comments m~st be submitted
 adding paragraphs (a)(6) and (b)(4) to           interim rule, HUD recognizes that they     throngh one of the two methods specified
 read as follows:                                 may have additional input and              above. Again. all submissions must refet to
                                                  comments for HUD to consider in its        the docket number and title of the rule.
 § 127.1 Violations.
                                                  development of the ESG final rule (final
     (a),. * .,                                                                                 No Facsimile Comments. Facsimile
                                                 ruJe). Therefore, this docltment takes
                                                                                             (fax) comments are not acceptable.
     (6) To export, re1~xport, retransfor, or
                                                  comments    for 60 days to allow
                                                  additional time for public input, and for     Public lJJspection of Comments. All
 otherwise make available to the public                                                      comments submitted to ID.JD regarding
                                                  HUD to sollcit specific comment on
 technical data or software if such person certain issues.                                   this notice will be available, without
 has knowledge that the technical data or                                                   c:harge, for public inspection and
                                                  OATES: Comment due dale: August S;
 soft.ware was made: publicly available                                                     copying between 8 a.m. and 5 p.m.
                                                  2015.
 without an authorization described in                                                      weekdays at tbe above address. Due Lo
 § 120.1 l(b) of this 1subchapter.               ADDRESSES:    Interested persons  are
                                                  invited to submit comments responsive security measures at the HUD
    (b) * * *                                                                               Headquarters building, an advance
                                                 to this request for-information lo the
    (4) To rolease or otherwise transfer         Reguiatjons Division, Office of General    appointment to review the documents
 information, such as decryption keys.           Coun sel, Department of Housing and        must be scheduled by calling the
 network access codes, or passwords,             Urban Development, 451 7th Street SW., Regulation Division at 202-708-3055
 that would allow access to other                Room 10276, Washington, DC 20410-          (this is not a toll-free number). Copies
 leciUlical data in cl.ear text or to            7000. Communications must refer to the of aJl comments submitted will also be
software that will result, directly or           above docket number and title and          available for inspection and
 indirectly, in an unauthorized export,          should contain the information             downloading at http.-!!
reexport, or retrans:fer of the technical        specified in the "Request for              www.regulations.gov.
 data fn clear text 01: software. Violation      CommenLs" of this notice.
                                                    Electtonic Submission of Comments.      FOR FURTHER INFORMATION CO NTACT:
 of this provision will constitute a
                                                 Interested  persons  may  submit           Norm Sucbar, Director, Office of Special
 violation to the same extent as a
                                                 comments electronically thro\1gh the       Needs Assistance Programs, Office of
 violation in connection with the export
                                                 Federal  eRulemaking   Portal  at http://  Community Planning and Development,
of the controlled technical data or
software.                                        www.regulations.gov. H UD strongly         Department of Housing and Urban
 *                    *
                        ..                       encourages commenters to submit
                                                 comments electronically, Eh!ctronic
                                                                                            Development, 451 7th Street SW., Room
                                                                                            7262, Washington, DC 20410-7000,
    Date<l: Ma.y 20. ;w1 5.                      submission of comments allows the          telephone number (202) 708,-4300 (this
Rose E. Gottemoeller.,                           commenter maximum time to prepani          is not a toll-free number). Persons with
                                                 and submit a comment, ensures timelv       hearin,g or speech impairments may
Undet Seuetary, Arms Cont.rol and
International Security, Department of State.
                                                 receipt by HUD, and enables HUD to -       access this number through TTY by
                                                 make them immediately available to the calling the toll-free Federal Relay
[FR Doc, 2015-12844.Fil.ed 6-Z-15 ; 8:4;, arol
                                                 public. Comments submitted                 Service at 800-877- 8339.
BILl.ll'IG CODE 471~2?-P
                                              electronically through tho http://
                                              www.regulations.gov Web site can be           SUPPLEMENTARY INFORMATION:
                                              viewed bv interested members of the
                                              public. Commenters should follow
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                  Exhibit 5
         Case
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                                            United States Department of State
                                            Bureau of Political-Militmy Affairs
                                            Office of Defense Trade Controls Compliance
                                            Washington, D.C. 20522-0ll2




                                                                   MAY CIS 2013
In reply refer to


Mr. Cody Wilson




Dear Mr. Wilson:

       The Department of State, Bureau of Political Military Affairs, Office of Defense
Trade Controls Compliance, Enforcement Division (DTCC/END) is responsible for
compliance with and civil enforcement of the Arms Export Control Act (22 U.S.C.
2778) (AECA) and the AECA's implementing regulations, the International Traffic in
Arms Regulations (22 C.F.R. Parts 120-130) (ITAR). The AECA and the ITAR impose
certain requirements and restrictions on the transfer of, and access to, controlled defense
articles and related technical data designated by the United States Munitions List
(USML) (22 C.F.R. Part 121).

      DTCC/END is conducting a review of technical data made publicly available by
Defense Distributed through its 3D printing website, DEFCAD.org, the majority of
which appear to be related to items in Category I of the USML Defense Distributed
may have released ITAR-controllcd technical data without the required prior
authorization from the Directorate of Defense Trade Controls (DDTC), a violation of
theiTAR.

       Technical data regulated under the ITAR refers to information required for the
design, development, production, manufacture, assembly, operation, repair, testing,
maintenance or modification of defense articles, including information in the form of
blueprints, drawings, photographs, plans, instructions or documentation. For a complete
definition of technical data, see § 120.10 of the ITAR. Pursuant to § 127.1 of the IT AR,


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it is unlawful to export any defense article or technical data for which a license or
written approval is required without first obtaining the required authorization from the
DDTC. Please note that disclosing (including oral or visual disclosure) or transferring
technical data to a foreign person, whether in the United States or abroad, is considered
an export under§ 120.17 of the ITAR.

       The Department believes Defense Distributed may not have established the
proper jurisdiction of the subject technical data. To resolve this matter officially, we
request that Defense Distributed submit Commodity Jurisdiction (CJ) determination
requests for the following selection of data files available on DEFCAD.org, and any
other technical data for which Defense Distributed is unable to determine proper
jurisdiction:

       l. Defense Distributed Liberator pistol
      2. .22 electric
      3. 125mm BK-14M high-explosive anti-tank warhead
      4. 5.56/.223 muzzle brake
      5. Springfield XD-40 tactical slide assembly
      6. Sound Moderator- slip on
      7. "The Dirty Diane" 1/2-28 to 3/4-16 STP S3600 oil filter silencer adapter
      8. 12 gauge to .22 CB sub-caliber insert
      9. Voltlock electronic black powder system
       10. VZ-58 front sight.

      DTCC!END requests that Defense Distributed submit its CJ requests within three
weeks of receipt of this letter and notify this office of the final CJ determinations. All
CJ requests must be submitted electronically through an online application using the
DS-4076 Commodity Jurisdiction Request Form. The form, guidance for submitting CJ
requests, and other relevant information such as a copy of the ITAR can be found on
DDTC's website at http:!/www.pmddtc.state.gov.

       Until the Department provides Defense Distributed with final CJ determinations,
Defense Disttibuted should treat the above technical data as ITAR-controlled. This
means that all such data should be removed from public access immediately. Defense
Distributed should also review the remainder of the data made public on its website to



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     determine whether any additional data may be similarly controlled and proceed
     according to ITAR requirements.

            Additionally, DTCC/END requests information about the procedures Defense
     Distributed follows to determine the classification of its technical data, to include the
     aforementioned technical data files. We ask that you provide your procedures for
,.   determining proper jurisdiction of technical data within 30 days of the date of this letter
       Ms. Bridget Van Buren, Compliance Specialist, Enforcement Division, at the address
     below:

                               Office of Defense Trade Controls Compliance




          We appreciate your full cooperation in this matter. Please note our reference
     number in any future correspondence.

                                             Sincerely,                   .




                                             Glenn E. Smith
                                             Chief, Enforcement Division




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                                  SETTLEMENT AGREEMENT

       Defense Distributed ("DD"), Second Amendment Foundation, Inc. ("SAF"), and Conn

Williamson (collectively, "Plaintiffs,") and the United States Department of State ("State"), the

Secretary of State, the Directorate of Defense Trade Controls ("DDTC"), the Deputy Assistant

Secretary, Defense Trade Controls, and the Director, Office of Defense Trade Controls Policy

(collectively, "Defendants"), out of a mutual desire to resolve all of the claims in the case

captioned Defense Distributed, et al. v. Dep 't ofState, et al., Case No. 15-cv-372-RP (W.D.

Tex.) (the "Action") without the need for further litigation and without any admission ofliability,

hereby stipulate and agree as follows:

       Plaintiffs and Defendants do hereby settle all claims, issues, complaints, or actions

described in.the case captioned, and any and all other claims, complaints, or issues that have

been or could have been asserted by Plaintiffs against Defendants in accordance with the

following terms and conditions:



1.     Consideration: In consideration of Plaintiffs' agreement to dismiss the claims in the

Action with prejudice as described in paragraph 2, below, Defendants agree to the following, in

accordance with the definitions set forth in paragraph 12, below:

       (a)     Defendants' commitment to draft and to fully pursue, to the extent authorized by

               law (including the Administrative Procedure Act), the publication in the Federal

               Register of a notice of proposed rulemaking and final rule, revising USML

               Category I to exclude the technical data that is the subject of the Action.

       (b)     Defendants' announcement, while the above-referenced final rule is in

               development, of a temporary modification, consistent with the International
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      Traffic in Arms Regulations (ITAR), 22 C.F.R. § 126.2, ofUSML Category I to

      exclude the technical data that is the subject of the Action. The announcement

      will appear on the DDTC website, www.pmddtc.state.gov, on or before July 27,

      2018.

(c)   Defendants' issuance of a letter to Plaintiffs on or before July 27, 2018, signed by

      the Deputy Assistant Secretary for Defense Trade Controls, advising that the

      Published Files, Ghost Gmmer Files, and CAD Files are approved for public

      release (i.e., unlimited distribution) in any form and are exempt from the export

      licensing requirements of the ITAR because they satisfy the criteria of22 C.F.R. §

      125.4(b)(13). For the purposes of 22 C.F.R. § 125.4(b)(13) the Depaiiment of

      State is the cognizant U.S. Government department or agency, and the Directorate

      of Defense Trade Controls has delegated authority to issue this approval.

(d)   Defendants' acknowledgment and agreement that the temporary modification of

      USML Category I permits any United States person, to include DD ' s customers

      and SAF' s members, to access, discuss, use, reproduce, or otherwise benefit from

      the technical data that is the subject of the Action, and that the letter to Plaintiffs

      permits any such person to access, discuss, use, reproduce or otherwise benefit

      from the Published Files, Ghost Gmmer Files, and CAD Files.

(e)   Payment in the amount of $39,581.00. This figure is inclusive of any interest and

      is the only payment that will be made to Plaintiffs or their counsel by Defendants

      under this Settlement Agreement. Plaintiffs' counsel will provide Defendants'

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             counsel with all information necessary to effectuate this payment.

     The items set forth in subparagraphs (a) through (e) above constitute all relief to be

     provided in settlement of the Action, including all damages or other monetary relief,

     equitable relief, declaratory relief, or relief of any form, including but not limited to,

     attorneys' fees, costs, and/or reliefrecoverable pursuant to 2 U.S.C. § 1302, 2 U.S.C. §

     1311, 2 U.S .C. § 1317, 22 U.S.C. § 6432b(g), 28 U.S.C. § 1920, Fed. R. Civ. P. 54(d),

     and the Local Rules.




2.   Dismissal with Prejudice: At the time of the execution of this Settlement Agreement,

     Plaintiffs agree to have their counsel execute and provide to Defendants' counsel an

     original Stipulation for Dismissal with Prejudice pursuant to Fed. R. Civ. P.

     41(a)(l)(A)(ii) and 41(a)(l)(B). Counsel for Defendants agree to execute the stipulation

     and file it with the Court in the Action, no sooner than 5 business days after the

     publication of the announcement described in Paragraph 1(b) of this Settlement

     Agreement and issuance of the letter described in Paragraph 1(c) of this Settlement

     Agreement. A copy of the Stipulation for Dismissal with Prejudice is attached hereto.



3.   Release: Plaintiffs, for themselves and their administrators, heirs, representatives,

     successors, or assigns, hereby waive, release and forever discharge Defendants, and all of

     their components, offices or establishments, and any officers, employees, agents, or

     successors of any such components, offices or establishments, either in their official or

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     individual capacities, from any and all claims, demands and causes of action of every

     kind, nature or description, whether currently known or unknown, which Plaintiffs may

     have had, may now have, or may hereafter discover that were or could have been raised

     in the Action.



4.   No Admission ofLiability: This Settlement Agreement is not and shall not be construed

     as an admission by Defendants of the truth of any allegation or the validity of any claim

     asse1ted in the Action, or of Defendants' liability therein. Nor is it a concession or an

     admission of any fault or omission in any act or failure to act. Nor is it a concession or

     admission as to whether the monetary or equitable relief, attorneys' fees, costs, and

     expenses sought by Plaintiffs in the Action, are reasonable or appropriate. None of the

     terms of the Settlement Agreement may be offered or received in evidence or in any way

     referred to in any civil, criminal, or administrative action other than proceedings

     permitted by law, if any, that may be necessary to consummate or enforce this Settlement

     Agreement. The terms of this Settlemenl Agreemt:nl shall nol bt: t;Onslrued as an

     admission by Defendants that the consideration to be given hereunder represents the

     relief that could be recovered after trial. Defendants deny that they engaged in ultra vires

     actions, deny that they violated the First Amendment, Second Amendment, or Fifth

     Amendment of the United States Constitution, and maintain that all of the actions taken

     by Defendants with respect to Plaintiffs comply fully with the law, including the United

     States Constitution.

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 5.    Merger Clause: The terms of this Settlement Agreement constitute the entire agreement

       of Plaintiffs and Defendants entered into in good faith, and no statement, remark,

       agreement or understanding, oral or written, which is not contained therein, shall be

       recognized or enforced. Plaintiffs acknowledge and agree that no promise or

       representation not contained in this Settlement Agreement has been made to them and

       they acknowledge and represent that this Settlement Agreement contains the entire

       w1derstanding between Plaintiffs and Defendants and contains all terms and conditions

       pertaining to the compromise and settlement of the disputes referenced herein. Nor does

       the Parties' agreement to this Settlement Agreement reflect any agreed-upon purpose

       other than the desire of the Parties to reach a full and final conclusion of the Action, and

       to resolve the Action without the time and expense of further litigation.



· 6.   Amendments: This Settlement Agreement cannot be modified or amended except by an

       instrument in writing, agreed to and signed by the Parties, nor shall any provision hereof

       be waived other than by a written waiver, signed by the Parties.



 7.    Binding Successors: This Settlement Agreement shall be binding upon and inure to the

       benefit of Plaintiffs and Defendants, and their respective heirs, executors, successors,

       assigns and personal representatives, including any persons, entities, departments or

       agencies succeeding to the interests or obligations of the Parties.

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8.    Consultation with Counsel: Plaintiffs acknowledges that they have discussed this

      Settlement Agreement with their counsel, who has explained these documents to them

      and that they understand all of the terms and conditions of this Settlement Agreement.

      Plaintiffs further acknowledge that they have read this Settlement Agreement, understand

      the contents thereof, and execute this Settlement Agreement of their own free act and

      deed. The undersigned represent that they are fully authorized to enter into this

      Settlement Agreement.



9.    Execution: This Settlement Agreement may be executed in one or more counterparts,

      each of which shall be deemed an original, and all of which together constitute one and

      the same instrument, and photographic copies of such signed counterparts may be used in

      lieu of the original.



10.   Jointly Drafted Agreement: This Settlement Agreement shall be consi<l.ere<l. a jointly

      drafted agreement and shall not be construed against any party as the drafter.



11.   Tax and Other Consequences: Compliance with all applicable federal, state, and local tax

      requirements shall be the sole responsibility of Plaintiffs and their counsel. Plaintiffs and

      Defendants agree that nothing in this Settlement Agreement waives or modifies federal,

      state, or local law pertaining to taxes, offsets, levies, and liens that may apply to this

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      Settlement Agreement or the settlement proceeds, and that Plaintiffs are executing this

      Settlement Agreement without reliance on any representation by Defendants as to the

      application of any such law.



12.   Definitions: As used in this Settlement Agreement, certain terms are defined as follows:

             The phrase "Published Files" means the files described in paragraph 25 of
             Plaintiffs' Second Amended Complaint.
             The phrase "Ghost Gunner Files" means the files described in paragraph 36 of
             Plaintiffs' Second Amended Complaint.
             The phrase "CAD Files" means the files described in paragraph 40 of Plaintiffs'
             Second Amended Complaint.
             The phrase "Other Files" means the files described m paragraphs 44-45 of
             Plaintiffs' Second Amended Complaint.
             The phrase "Military Equipment' means (1) Drum and other magazmes for
             firearms to .50 caliber (12.7 mm) inclusive with a capacity greater than 50 rounds,
             regardless of jurisdiction of the firearm, and specially designed pa1is and
             components therefor; (2) Parts and components specially designed for conversion
             of a semi-automatic firearm to a fully aulomatic firearm; (3) Accessories or
             attachments specially designed to automatically stabilize aim (other than gun
             rests) or for automatic targeting, and specially designed parts and components
             therefor.
            · The phrase "technical data that is the subject of the Action" means: (1) the
             Published Files; (2) the Ghost Gunner Files; (3) the CAD Files; and (4) the Other
             Files insofar as those files regard items exclusively: (a) in Category I(a) of the
             United States Munitions List (USML), as well as barrels and receivers covered by
             Category I(g) of the USML that are components of such items; or (b) items.

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             covered by Category I(h) of the USML solely by reference to Category I(a),
             excluding Military Equipm~nt.

Dated: ~ e   ~o/, 2018

                                         Dated:   .SLl'\L ~~' 2018


                                                  Matthew A. GolcBl~:::::=-"'--""
                                                  Snell & Wilmer LLP
                                                  One South Church Ave. Ste. 1500
                                                  Tucson, Arizona 85701
                                                  Counsel for Plaintiffs

                                                  r.'
                                        Dated:    JV\\e, ~ 1   2018




                                                 Eric J. os
                                                 Stuart J. Robinson
                                                 United States Department of Justice
                                                 Civil Division, Federal Programs Branch
                                                 20 Massachusetts Ave., N.W.
                                                 Washington, D.C. 20001
                                                 Tel. (202) 353-0533

                                                 Counsel for Defendants




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                  Exhibit 8
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       Engel Decries State Department Policy
       to Allow 3-D Gun Printing
       Jul 20, 2018 | Press Release

       WASHINGTON—Rep. Eliot L. Engel, Ranking Member of the House Committee on Foreign Affairs, today
       called on Secretary of State Mike Pompeo to immediately suspend a dangerous State Department policy which
       would permit internet publication of software for 3-D gun printing.

       “There are several disturbing aspects of the Department’s action. Foremost is the likelihood that weapons will
       become available to anyone with a laptop and a 3-D printer. This defeats US laws which require background
       checks on the sale of weaponry. The danger is magnified because 3-D printed firearms would be made of
       plastic and, therefore, undetectable by most security systems. With these stealthy weapons in the hands of
       terrorists, lone wolf killers, or mentally unstable individuals, it will become virtually impossible to protect
       anyone from gun violence,” Ranking Member Engel wrote.

       The State Department’s change in policy is the result of a settlement of a law suit: Defense Distributed v.
       United States. If no action is taken, the policy takes effect on July 27, 2018.

       Text of the letter can be found here (https://democrats-
       foreignaffairs.house.gov/sites/democrats.foreignaffairs.house.gov/files/07-20-18%20Letter%20to%
       20Secretary%20Pompeo%20Regarding%203-D%20Printed%20Arms.pdf) and below:

       Dear Mr. Secretary:

       I write to register my profound concern about an action by Department of State officials to remove from export
       controls certain software for 3-D printing of firearms. This is exceptionally dangerous because it will promote
       global availability of such technical information and consequent unrestricted manufacture of firearms. This
       action was taken in settling a lawsuit: Defense Distributed v. United States.

       There are several disturbing aspects of the Department’s action. Foremost is the likelihood that weapons will
       become available to anyone with a laptop and a 3-D printer. This defeats US laws which require background
       checks on the sale of weaponry. The danger is magnified because 3-D printed fireams would be made of




https://democrats-foreignaffairs.house.gov/news/press-releases/engel-decries-state-departm... 7/29/2018
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   plastic and, therefore, undetectable by most security systems. With these stealthy weapons in the hands of
   terrorists, lone wolf killers, or mentally unstable individuals, it will become virtually impossible to protect
   anyone from gun violence.

   Moreover, the text of the settlement, attached, suggests that the Department’s officials are mis-using authority
   under Section 126.2 of the International Traffic in Arms Regulations to “temporarily” remove this technical
   information from the United States Munitions List (USML). However, as anyone who has ever posted
   something on the internet knows, once posted, the item is instantly and permanently available to all who seek
   it. Therefore, it is impossible to temporarily publish 3-D gun printing software on the internet. In as much as
   Sec. 126.2’s authority is reserved for use only in the interests of U.S. security and foreign policy. It stretches
   credulity to believe that release of this information is in the U.S. interest.

   Use of this temporary ITAR authority also suggests that Department officials sought a way to avoid complying
   with Section 38(f) of the Arms Export Control Act, which requires advance notification to Congress for any
   removal from the USML.

   The settlement of this lawsuit is slated to go into effect by July 27th. I urge you to suspend the Department’s
   implementation of the settlement immediately and prevent the inappropriate and dangerous release of this
   technical information.

   Sincerely,

                                                          ###




https://democrats-foreignaffairs.house.gov/news/press-releases/engel-decries-state-departm... 7/29/2018
